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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

IN RE: Stanley H. Thompson CASE NUMBER: 19-50486-JAM

DEBTOR CHAPTER 7

NOTICE OF CONTESTED MATTER RESPONSE DEADLINE

BANK OF AMERICA, N.A., (the “Movant”) has filed a Motion for Relief from Automatic Stay
(Real Property), (the “Contested Matter’), in the above-captioned case. Notice is hereby given that
any response to the Contested Matter must be filed with the Court no later than June 17, 2019.* In
the absence of a timely filed response, the proposed order in the Contested Matter may enter

without further notice and hearing, see, 11 U.S.C. § 102 (1).

Dated: June 3, 2019 By: BANK OF AMERICA, N.A.

*Pursuant to Federal Rule of Bankruptcy Procedure 9006(f), if service is made by mail, three

days are added after the response date set in this notice.
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

IN RE: Stanley H. Thompson CASE NUMBER: 19-50486-JAM

DEBTOR CHAPTER 7

CERTIFICATION OF SERVICE
In accordance with the applicable provisions of the Federal Rules of Bankruptcy Procedure, 2002,
and 7004, the undersigned certifies that on the 3 day of June, 2019, the following documents
were served on the U.S. Trustee and all appearing parties via the court’s electronic filing system
and by first class mail on the parties listed below:

Documents Served:

1. Motion for Relief from Automatic Stay (Real Property)
2. Proposed Order

3. Notice of Contested Matter

Parties Served Via First Class Mail: (Complete Address Must Be Listed)
Stanley H. Thompson

Debtor

162 Strawberry Hill Avenue

Norwalk, CT 06851

Select Portfolio Servicing
Attn: Collection Agent
P.O. Box 65250

Salt Lake City, UT 84165

By “/ Sara. M. Buchanan
Sara M. Buchanan
The Movant’s Attorney
Federal Bar No.ct30340
Bendett & McHugh, P.C.
270 Farmington Avenue, Suite 171
Farmington, CT 06032
Phone (860) 677-2868
Fax (860) 409-0626
Email: BRECF@bmpc-law.com

 
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
In Re: 19-50486-JAM Chapter 7 Proceeding

Stanley H. Thompson
Debtor

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BANK OF AMERICA, N.A. )
Movant )

)

VS. )
)

Stanley H. Thompson )
)

)

and George I. Roumeliotis , Trustee
Respondent

June 3, 2019

MOTION FOR RELIEF FROM AUTOMATIC STAY
(REAL PROPERTY)

BANK OF AMERICA, N.A. (“Movant”) hereby moves this Court, pursuant to 11 U.S.C. §
362, for relief from the automatic stay with respect to certain real property of the Debtor having an
address of 162 Strawberry Hill Avenue, Norwalk, Connecticut 06851-5936 (the “Property’). In
further support of this Motion, Movant respectfully states:

il A petition under Chapter 7 of the United States Bankruptcy Code was filed with
respect to the Debtor on April 12, 2019.

2. The Debtor has executed and delivered or is otherwise obligated with respect to that
certain promissory note in the original principal amount of $225,250.00 (the “Note”). A copy of
the Note is attached hereto as Exhibit A. Movant is an entity entitled to enforce the Note and the
Mortgage (defined below).

3. Pursuant to that certain Open-End Mortgage Deed (the “Mortgage’’), all obligations
(collectively, the “Obligations”) of the Debtor under and with respect to the Note and the

Mortgage are secured by the Property. A copy of the Mortgage is attached hereto as Exhibit B.
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4. The Mortgage has been assigned to the Movant pursuant to that certain assignment
of mortgage, a copy of which is attached hereto as Exhibit C.

5. The Debtor’s statement of intention indicates the Property is to be surrendered. A
copy of which is attached hereto as Exhibit D.

6. As of April 24, 2019, the approximate outstanding amount of the Obligations less
any partial payments or suspense balance is $208,987.97.

7. In addition to the other amounts due to Movant reflected in this Motion, as of the
date hereof, in connection with seeking the relief requested in this Motion, Movant has also
incurred $750.00 in legal fees and $181.00 in costs. Movant reserves all rights to seek an award or
allowance of such fees and expenses in accordance with applicable loan documents and related
agreements, the Bankruptcy Code and otherwise applicable law.

8. As of April 24, 2019, the Debtor has failed to make payments in an aggregate
amount sufficient to satisfy in full the payment contractually due under the Note on February 1,
2017 or any full payment contractually due under the Note thereafter.

9. A foreclosure judgment entered in favor of the Movant. See Exhibit E. The
Creditor requests the Court take judicial notice of the Connecticut Superior Court’s files and
records pursuant to Federal Rule of Evidence 201(c)(2).

10. The estimated market value of the Property is $390,000.00. The basis for such
valuation is Debtor’s Schedule A, a copy of which is attached hereto as Exhibit F.

11. Upon information and belief, the encumbrances on the Property listed in the
Schedules or otherwise known, including but not limited to the encumbrances granted to Movant,
are: (1) Movant $208,987.97; and (ii) Select Portfolio Servicing $134,000.00.

12. The Schedules of the Debtor lists an exemption for the Property in the amount of
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$61,000.00,
13. Pursuant to 11 U.S.C. § 362(d)(1), cause exists for relief from the automatic stay for
the following reasons:
(a) The Debtor has indicated an intent to surrender the Property. This means the
Debtor does not intend to tender payment to the Movant post-petition.
(b) The fair market value of the Property is declining and payments are not being

made to Movant sufficient to protect Movant’s interest against that decline.

WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the
stay and granting the following:

i Relief from the stay allowing Movant (and any successors or assigns) to proceed
under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain
possession of the Property.

2. That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

3. For such other relief as the Court deems proper.

BANK OF AMERICA, N.A.

By 4/¢ Sara M. Buchanan
Sara M. Buchanan
The Movant’s Attorney
Federal Bar No.ct30340
Bendett & McHugh, P.C.
270 Farmington Avenue, Suite 171
Farmington, CT 06032
Phone (860) 677-2868
Fax (860) 409-0626
Email: BRECF@bimpc-law.com
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

In Re: 19-50486-JAM Chapter 7 Proceeding

Stanley H. Thompson
Debtor

RE: ECF No.
BANK OF AMERICA, N.A.

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Movant )
)

vs. )
)

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)

)

Stanley H. Thompson
and George I. Roumeliotis, Trustee

Respondent

ORDER GRANTING MOTION FOR RELIEF

After notice and a hearing, see Bankruptcy Code Section 102(1), on BANK OF
AMERICA, N.A., (hereafter, the “Movant’’), Motion for Relief from the Automatic Stay,
(hereafter, the “Motion”) ECF No. :

IT IS HEREBY ORDERED that the Motion is Granted—the automatic stay of 11 U.S.C.
§ 362(a) is modified to permit the Movant, its designated servicing agent, and/or its successors and
assigns to commence, continue, and prosecute to judgment a foreclosure action and obtain
possession in accordance with applicable state law and otherwise exercise its rights, if any, with
respect to real property known as 162 Strawberry Hill Avenue, Norwalk, Connecticut 06851 in
accordance with applicable state law, and

IT IS FURTHER ORDERED that the Movant, its designated servicing agent, and/or its
successors and assigns may, at its option, offer, provide and enter into a potential forbearance
agreement, loan modification, refinance agreement or other loan workout/loss mitigation
agreement, including accepting a deed in lieu of foreclosure from the Debtor. The Movant or its
designated servicing agent may contact the Debtor via telephone or written correspondence to offer
such an agreement. In the event the Debtor receives a discharge, any such agreement shall be non-
recourse against the Debtor unless included in a reaffirmation agreement, and
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IT IS FURTHER ORDERED that the 14-day stay of Fed.R.Bankr.P. 4001 (a)(3) is not
applicable and the Movant may immediately enforce and implement this order.

No deficiency judgment shall be enforced without the further order of the Court, unless this
case is dismissed.

Dated: BY THE COURT

Honorable Julie A. Manning
U.S. Bankruptcy Judge
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF CONNECTICUT

In Re: Stanley H. Thompson

BK No. 19-50486-JAM
Debtor(s) Chapter 7

RELIEF FROM STAY WORKSHEET-REAL ESTATE

ASST. VICE PRESIDENT

j ALEX HUYNH as (Name and Title) of BANK OF AMERICA, N.A. (hereinafter,
“Movant”) hereby declare (or certify, verify, or state):

BACKGROUND INFORMATION

1. Real property address which is the subject of this motion:
162 STRAWBERRY HILL AVENUE, NORWALK CT, 06851-5936
2. Lender Name: Bank of America, N. A.
3. Date of Mortgage: April 7, 2004
4, Post-Petition payment address: !’0 Box 15222, Wilminaion, DE 19886-5227)
5. The manner in which the movant perfected its interest in the property: The lien created by

the Mortgage was perfected by recording the Mortgage in Norwalk, Connecticut on April
12, 2004 in Book 05368 at Page 0001,

6, All other material liens and encumbrances on the property: Select Portfolio Servicing
$134,000.00.

DEBT/VALUE REPRESENTATIONS

7. Total pre-petition and post-petition indebtedness of Debtor(s) to Movant at the time of filing
the motion: $208,987.97.!

(Note: this amount may not be relied on as a “payoff” quotation.)
8. Movant’s estimated market value of the real property: $ 390,000.00

9, Source of estimated valuation: DEBTOR’S SCHEDULE A

' The total pre-petition and post-petition indebtedness listed in paragraph 7 is as of Aprt/ 24, 2019
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10.

11.

12.

13.

14

15.

Date Payment Due:

STATUS OF DEBT AS OF THE PETITION DATE

Total pre-petition indebtedness of Debtor(s) to Movant as of petition filing date:
$208,695.70.

A. Amount of principal: $ /68,665./8

B, Amount of interest: $22,139.98

C. Amount of escrow (taxes and insurance): $ /2,2/5,82°

D. Amount of forced placed insurance expended by Movant: $ 0.00

E. Amount of Attorney’s fees billed to Debtor(s) pre-petition: $ 4,460.00

F, Amount of pre-petition late fees, if any, billed to Debtor(s): $ 197.16

Contractual interest rate: 5.750% (if interest rate is (or was) adjustable, please list the rate(s) and
date(s) the rate(s) was/were in effect on a separate sheet and attach the sheet as an exhibit to this

form; please list the exhibit number here: +)

Only with regard to a post-petition default, explain any additional pre-petition fees,
charges or amounts charged to Debtor(s) account and not listed above: Appraisal $3(HL00;
Title Search $225.00; Recording Fees $116.00; Mershat tees $148.00; Complaint
$360.00

 

 

 

(If additional space is needed, please list the amounts on a separate sheet and attach the sheet
as an exhibit to this form; please list the exhibit number here: )

AMOUNT OF ALLEGED POST-PETITION DEFAULT (AS OF 04/24/2019)
Date last payment was received: 03/07/2017

Alleged total number of payments post-petition from filing of petition through payment due
on N/A,

Please list all post-petition payments alleged to be in default:

SCHEDULE OF PAYMENTS THAT WERE DUE:

 

Payment Amount Due Post Petition:

N/A $0,00
Totals: $0.00

 

 

: Ihe total pre-petition indebtedness is net of partial payments held in the amount of $/3/.44,

3 Amounts in paragraph 10.C, represent arnounts actually advanced on behalf of the Debtor(s),
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SCHEDULE OF PAYMENTS THAT WERE RECEIVED

 

Date Amount Amount Amount Late Fee Amount
Received Applied to Applied to Charged applied to
Principal Escrow (if any) legal fees or
and Interest costs
| at | _ (specify)
None $0.00 $0.00 $0.00 $0.00 | $0.00
Totals: $0.00 | $0.00 - $0.00 — - $0.00 $0.00 ©

 

16, Amount of Movant’s Attorney’s fees billed to Debtor for the preparation, filing and
prosecution of this motion: $750,00.

17. Amount of Movant’s filing fec for this motion: $ /8/.00.

18. Only to the extent movant is secking payment in the motion, the amount of other
Attorney’s fees billed to Debtor post-petition: $ 0.00

19. Only to the extent movant is seeking payment in the motion, the amount of Movant’s
Post-petition inspection fees: $ 0.00
Only to the extent movant is seeking payment in the motion, the amount of Movant’s
post-petition appraisal/broker’s price opinion: $ 0.00

20. Only to the extent movant is seeking payment in the motion, the amount of forced
placed insurance or insurance provided by the Movant post-petition: $ 0.00.

21. Only to the extent movant is seeking payment in the motion, the amount of the sum
held in suspense by Movant in connection with this contract, if applicable:
$ 131.44.

22. Only to the extent movant is secking payment in the motion, the amount of other post-
petition advances or charges: i.e., taxes, insurance incurred by Debtor, ctc.: $ 0.007

23. Amount and date of post-petition payments offered by the debtor and refused by the:

 

 

 

 

Movant: §$ 0.00 Date(s) N/A
Movant: $0.00 Date(s) N/A
Movant: $0.00 Date(s) N/A

 

 

‘ The post-petition payments alleged in default for this impoundcd loan listed in paragraph 1|5 include any missed
escrow payments. Such missed escrow payments include amounts assessed for taxes and insurance and any previously
assessed escrow shortage amount (if applicable). To avoid duplication, post-petition advances (if any) made for
insurance, real estate taxes, or similar charges are not listed again separately in 21 or 23 to the extent such advances
would have been paid from the missed escrow payments, As part of the next annual RESPA analysis, the Bank will
determine whether the escrow payments assessed to the debtor (including the missed escrow payments detailed in
paragraph 15) result in a projected escrow shortage or overage. All rights are hereby reserved to assert or request any
escrow amounts in accordance with RESPA and the total post-petition arrearage/delinquency is qualified accordingly.
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REQUIRED ATTACHMENTS TO MOTION

Please attach the following documents to this motion and indicate the exhibit number associated
with the documents.

(1) Copies of docunients that indicate Movant’s interest in the subject property. For purposes of
example only, a complete and legible copy of the promissory note or other debt instrument together with a
complete and legible copy of the mortgage and any assignments in the chain from the original mortgagee to
the current moving party, (Exhibit A-Note, B- Mortgage, C- Assignment of Mortgage, G-Payment
History.)

(2) Copies of documents establishing proof of standing to bring this Motion.
(Exhibit A-Note, B- Mortgage, C- Assignment of Mortgage.)

(3.) Copies of documents establishing that Movant’s interest in the real property was perfected. For the
purposes of example only, a complete and legible copy of the Financing Statement (UCC-1) filed with
either the Clerk’s Office or the Register of the county the property is located in. (Exhibit B-Mortgage.)
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CERTIFICATION AND DECLARATION FOR BUSINESS RECORDS

I certify that the information provided in this worksheet and/or exhibits attached to this worksheet is derived
from records that were made at or near the time of the occurrence of the matters set forth by, or from
information transmitted by, a person with knowledge of those matters, were kept in the course of the
regularly conducted activity; and were made by the regularly conducted activity as a regular practice.

I further certify that copies of any transactional documents attached to this worksheet as required by
paragraphs 1, 2, and 3, immediately above, are true and accurate copies of the original documents, I further
certify that the original documents are in movant’s possession, except as follows: One or more documents
may be in the possession of the custodian and/or agent of Movant.

Wwe declare (or certify, swear, affirm, verify or state) that the foregoing is true and correct.

Executed on MAY 31, 2019 ___|date]

[signature]

ALEX HUYNH
ASST. VICE PRESIDENT

[title]
CASE# 19-50486 - JAM

A notary public or other officer completing this
certificate verifies only the identity of the
individual who signed the document to which this
certificate is attached, and not the truthfulness,
accuracy, or validity of that document.

State of California

County of Vererwas aA

Subscribed and sworn to (or affirmed) before me on this 3] +day of [Marr : 20 )4, by
Alex Hf lA ______. proved to me on the basis of satisfactory evidence to be the

person(yf who appeared before me,

AW ™ ie, ate (Seal)

OU>™

 
    

, WENDY R. ALTMAN
3) COMM.# 2164797
peck BAR) NOTARY PUBLIC - CALIFORNA
ees - Pua? VENTURA COUNTY
Gieseer’” My Comm. Expires Oct. 13, 2020

   
   
  

 

 
   

    
 

 

 
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

 

In re:
Chapter 7
Stanley H. Thompson ,
Case No. 19-50486-JAM
Debtor(s).

DECLARATION IN SUPPORT OF
MOTION FOR RELIEF FROM AUTOMATIC STAY

 

], ALEX HUYNH / , declare under penalty of perjury as follows:

2. Iam a/an ASST. VICE PRESIDENT —_ of Bank of America, N.A.
(“BANA”) and am authorized to sign this declaration on behalf of BANA. This declaration is
provided in support of the Motion for Relief from Stay (the “Motion”) filed contemporaneously
herewith.

3, As part of my job responsibilities for BANA, I have personal knowledge of and
am familiar with the types of records maintained by BANA in connection with the loan that is
the subject of the Motion (the “Loan’’) and the procedures for creating those types of records. |
have access to and have reviewed the books, records and files of BANA that pertain to the Loan
and extensions of credit given to Debtor(s) concerning the property securing such Loan.

4, The information in this declaration is taken from BANA's business records
regarding the Loan. The records are: (a) made at or near the time of the occurrence of the
matters recorded by persons with personal knowledge of the information in the business record,

or from information transmitted by persons with personal knowledge; (b) kept in the course of
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regularly conducted business activities; and (c) it is the regular practice of BANA to make such
records.

5. The Debtor, Stanley H. Thompson, has executed and/or delivered and/or is
otherwise obligated with respect to that certain promissory note referenced in the Motion (the
“Note”). Pursuant to that certain Open-End Mortgage Deed referenced in the Motion (the
“Mortgage”), all obligations of the Debtor under and with respect to the Note and the Mortgage are

secured by the property referenced in the Motion.

6, As of April 24, 2019, the amount of the outstanding Obligations is at least
$208,987.97,
ra Attached hereto as Exhibit G is a contractual payment history, which history is

incorporated herein by reference. The contractual due date is February 1, 2017,
Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct. Executed this 34 day of

Meaty (_—

ame, ALEX HUYNH
Title: ASST. VICE PRESIDENT

MAY _, 2049

CASE# 19-50486-JAM
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EXHIBIT A
Cas = r AC: 16 of 70

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yy =Redacted Information

Preparad by: EMILY LAVEADIERE
—

NOTE

APRIL 07, 2004 MERIDEN CONNECTICUT
[Date] : ‘ [City] [State]

162 STRAWBERRY HILL AVENUE, NORWALK, CI 06851
[Property Addrery]

J, BORROWER'S PROMISE TO PAY - . 4

In relum for a loan dhat Ihave received, | promise io pay U.S, $ 225,250.00 (this amount is called
"Principal”), plus interest, lo the order of the Lander. The Lender is
COUNTRYWIDE HOME LOANS, INC.

I will make all payments under this Note in the form of cusli, cheek or money order,

Lumderstand (hac the T.cnder may wansfer this Note. ‘The Lender or anyone who takes this Note by wansfer and who Is
entitled to receive payments under this Note is called the “Note Holder,”
2. INTEREST.

Interest will be charged on unpaid principal until the full smount of Principal has been paid, I will pay interest at 4 yearly
role of 5.750 & ¢

The interest rate required by unis Section 2 is the rate I will pay both before and after any default described in Section 6(3)
of this Note.

3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month,

Twill make my monthly paymenton the FIRST day of each month beginning on

OUNE O1, 2904 _ Pwill make these paytiunm-cvery month until Pave paid all of the principal anid intocest nod any
other chayyes described beluw Umi 1 may owe under this Note, Bach ¢noadily payment will be appliod as of its scheduled dus
dite aud will be applied to interest before Pringipal If,on MAY 07, #024 , L still owe amovers winder this Note, I
will pay thowe amounts in Gil] on diat date, which is called the "Maturity Date."

J will make my monthly payments al
P.O, Box 660694, Dallas, TX 75266-0694
or at a different place if required by the Note Holder.

(B) Amount of Monthly Payments .

My mnithty payment will be in the amount of US,$ 1,314.50
4. BORROWER'S RIGHT TO PREPAY

Tiave the right oomnke payments of Paincipal at any time before they arc due. A payment of Principal only is known as a
"Prepayment When | make a Prepayment, f will tell the Note Holder in writing that ] am doing so, ] may not designate a
payment as a Peepayniont if7 have notanads all the penthly payments due under the Note,

Tmay make a fill Prepayment or partial Prepayments wilhoul paying a Prepayment charge. Tho Note Holder will use my
Prepayments 0 reduce the amount of Principal that T owe wnder this Note. However, te Note Holder may apply my Prepayment
io the acerued and unpaid interest on the Prepaymeat amount, hefare applying my Prepayment to reduce the Principal amaunt of
the Note. If I make a partial Prepayment, there will be no changes in the duc date or in ihe amount of my monthly payment
unless the Note Folder agrees in writing to those changes,

5. LOAN CHARGES

If a law, which applies to this toan and which sels maximum loan charges, is finally interpreted so thal the intcrest or other
loan charges collecied of (0 be collected in connection with this loan exceed the permitted Jimits, then: (a) any such loan charge
shall be reduced by (Hit AuIauNL necessi'y LO reduce the Charge th the permitted limit; and (b) any sums alrently Gollecwed from
me which exceeded pormittod limits will be refunded to me. The Note Holder may choose to make this refund by reducing the.
Principal L owe under this Nolc or by making a direct payment to me. If a refund reduces Principal, tho reduction will be treated
as a partial Prepayment
6 BORROWER'S FATLURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

[ihe Note Holder hws nor received the full amount of any montiily payment by theendof ELETEEN calendar
days alter the date if is due, T will pity 9 Inte charge to the Note Holder. The amount of the charge will be 5.000 % of my
overduc pnymant of princkpal snd interest. T will pay this late charge promptly but oily once om each fate payment .

(HB) Default
If I do not pay the full amount of cach manthly payment on the date itis duc, I will be in default,

a
MULTIGTATE FIXED RATE NOTE-Single Family-Fannle MsaFreddle Mac UNIFORM INSTRUMENT inillate a /
YMP MORTGAGE FORMS - (800)521-7291

CQ -BN 207.01 CHL (09/03)(d) Paga 1 ol 2 Form 3200 141

   

 
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(C) Notice af Default

If 1 am in details, the Note Holder way send me a written notice felling me that if 1 do not pay the overtuc amount by 4
cermin date, the Note Halder may require me to pay immediately tho full umount of Principal which has not heen paitl and all
the Hnteroat that I owe on dhat amount, That date must be at least 30 days after the date on which the notice is mailed to me or
delivered by other means.

(D) No Waiver By Note Holder

Even if, at a ime when I am in default, he Note Holder does not require me to pay immediately in full as described above,
the Note Holder will still have the right to do so if] am in default at a later limo.

(E) Payment of Note Holder's Costs and Expenses

If the Nute Holder has required me to pay immediately in full as described wbove, the Nuw Holder will have the right ta be
paid back by me for all of its costs and expenses in enforcing this Note tO the extent nol prohibited by applicable law, Those
expenses include, for example, masonable attomeys' fees,

7, GIVING OF NOTICES

Unitess applicnbls law requires a dilferont method, any notice that must be given lo me under thiv Nate will be given by
delivering it or by mailing H by first class mail to me at the Properly Adiroxs above or ato different address if I give tho Noto
Holder a nolive of my different address,

Any notice dit must be given 10 the Note Holder under this Note will be given by delivering it or by mailing it by first
class mailto tho Note Holder al the address stated in Section 3(A) above or ag a differcar adress if Iam given a notice of that
different address,

§$. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If nore thin one porto Alums (his Note, cach person i Fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surcty or endorser of this Note is
also abligatcd to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety
or endorser of this Note, is also obligated to keep all of the promises made in this Note, The Note Holder may enforce its rights
under this Nolte agalast each person individually or against all of ys logether. This means thal any one of us may be required to
pay al! of (he amounts owed under this Nore.

9, WAFVERS

Sand any other person who has obligations under this Note waive the rights of Presentment and Notice of Disbonor.
"Presentment" aeans the right to require the Note Holder to demand payment. of amounts duc, "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that arnounts due have not beon paid,

10. UNIFORM SECURED NOTE

This Note is a uniforce jnsurument with limited vadations in Rome jutisdigtions, In addition to the prulections given louie
Note Holiler under this Note, 1 Mortage, Deed af Trust, or Security Deed (the “Security Insument’), dated the same tate a4
this Note, protects the Note Holder from possible losses which might cosull if I do not keep ihe promisex which | make in this
Note, That Security Instrument describes how and under what conditions J may be required Jo make immediate payment in full
of all amounts Lowe uniler this Note, Some of those conditions are described as follows:

ifall or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is nol
& nalunil person and @ beneficial interest in Borrower is sold or trandfermed) withoul Lender's poor written
consent, Lender may cvqiice immodiate paymont in full of ull sams secured by this Security Instrument,
However; this option shall not be exercised by Lender If such exercise Js prohibited by Applicable Law.

If Lender exerciser: [his option, Lender shall give Borrower notice of yccolemtion. The notice shal] provide
a period of not less than 30 days from the date the notice is Riven in accordance with Section ES within which
Borrower must pay all sums secured by this Security Inswument. If Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any remedies permitied by this Security Instrument without further
notice or demand 00 Borrower,

PAY TO THE ORDER OF ¥

———<—$—$—_——__.

VATHOUT RECOURSE
OE HOME LOANS, DAC
a ’
A Spock .

Ode $Y

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED,

fk, “le ee (Seal) (Seal)
: ui -Homower

“ETANERY HL TIMES ~Boryower

 

 

(Seal). . (Seal)

~Rotrower ~Borrower

 

{Sign Original Gnty}

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EXHIBIT B
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After Recording Retum To: 368 PG 0001
COUNTRYWIDE HOME LOANS, INC. RECORDED 24/12/2004 @2:@1:31 PY

MS SV-79 DOCUMENT PROCESSING ANDREW S. GARFUNKEL
P.0.Box 10423 TOWN CLERK NORWALK CT

Van Nuys, CA 91410-0423

Prepared By:
EMILY LAVERDISRE

MM =Redacted Information

 

 

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(Doc ID 6)

OPEN-END MORTGAGE DEED
MIN

DEFINITIONS

Words wed in multiple sections of this document ore defined below and other words are defined in Sections 3,
11, 13, 18, 20 and 21, Certain niles regarding the usage of words used in this document are also provided in
Section 16,

(A) ‘iSecurity Instrument" means this document, which is dated APRIL 07, 2004 , together
with all Riders to this document,

(B) "Borrower" is

STANLEY H THOMPSON

Borrower is the mortgagor under this Scourity Instroment.

(C) "MERS" is Morigege Electronic Registration Systoms, Inc. MERS js a separate corportion tint is acting
solely as a nomines for Lender and Lendor’s succeators und assigns. MERS is the mortgagee: under this
Security Instrument, MERS |s organized and exisng under the Jows of Delaware, and has an address and
ielephono number of P.O. Box 2026, Flint, ML4B501-2026, tcl. (888) 679-MERS,

@) “Lender is

COUNTRYWIDE HOME LOANS, INC.

Lender is u CORPORATION

esganized and existing under the laws of NEW YORK . Lender's address is
4500 Park Granada, Calabasas, CA 91302-1613 .
@ "Note" means the promissory note signed by Borrower and daud APRIL 07, 2004 « The

Note states that Borrower owes Lender
TWO HUNDRED TWENTY FIVE THOUSAND THO AUNDRED FIFTY and 00/100

Dollars (U.S. $ 225, 250.00 } plus interest. Borrower has promised to pay this debt in segular
Periodic Payments and to puy the debt in full not Interthon MAY 01, 2034 .

CONNECTICUT-Singlo Family-Fannfoe Mas/Freddio Mac UNIFORM INSTRUMENT WITH MERS
Page 1 of 14 inital:
ED -SA(CT) 1000) CHL (af00)(¢) | VMP MORTGAGE FORMS - (Gou}S21-7e01 Form 3007 1/01
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(F) "Property" means the property that is described below under the heading “Transfer of Rights in tho

erty,”
ie rocans the dobr evidenced by the Note, plus interest, any prepayment chares and Inte charges
duc under the Note, and all sung due under this Security Instrument, plus imtercat,
(G) "Riders" meana oll Ridom to this Securily Insieument that are oxcouled by Borrower, The following
Riders are to he executed by Borrower (check box ag applicable}:

Adjustable Rate Rider Condominium Rider Second Home Rider
Balloon Rider Planned Unit Development Rider 14 Family Rider
VA Rider Biweckly Poyment Rider Other(s) [specify]

@ ‘Applicable Law" means all comolling npplicable federal, slate and loct starutes, regulations,
urdinnnces and adrainivtntive cules and orders (thoi have the effect of Inw) as well as all oppliguble Gnal,
non-appealable judicial opinions,

(D "Communily Associntion Ducs, Fees, and Assessments” means-all dues, fees, nssessments and other
chnrges that are imposed on Borrower or the Property by a condominium associution, homeowner association
or similar organization. .

(K) "Etectronic Funda Transfer" means any transfer of funds, other than a transaction originated by check,
draft; or similar paper instrament, which is initiated through an electronic terminal, telephonic instrument,
computer, or mognotic tape go us to order, instruol, or authorize a financint fostimtion to debit or oredit an
recount Such ten Includes, but is mot limited to, point-of-sale wonsfers, automnied teller machine
trunsactions, ininsfors initiated by telephone, wire transfers, and aulomated clearinghouse irutsfern,

(L) “Escrow Items" means those items that arc described in Section 3,

(M0) "Miscclinncovs Procecds" means any compensation, sotiement, awed of damages, ar pmeeeda pald by
any third patty (other than insurenco proceeds paid imder the coverages deseribed in Scwtion 5) for: (i) damage
to, or destruction of, the Property; (ii) condemnation or other toking of all or any pact of the Property: (ili)
conyeynsice in Tiew of condsmnation; or (iv) miscepresentations of, or omissions us to, the vilue and/or
condition of the Property.

(N) ''Mortgnge Insurance" means insurance protecting Lender against the nonpayment of, or default on, the
Loan.

(O) "Periodic Payment" means the regularly scheduled pmount due for G) principal and interest under the
Note, plus Gi) any amounts under Section 3 of this Security Instrument.

(PF) "RESPA" means the Real Bstae Setllement Procedures Act (12 U.S.C. Section 2601 ct seq.) and its
implemneating regulation, Regulation X. (24 CFR Part 3500), ns they might be amended from Unie to time, oF
any pddidonal or successor logislation ar regulation that governs tho samo subject mutter. As used in thig
Scourity Instrument, "RESPA" refers ta all requirements and restrictions thal are imposed in regurd to a
"fedérally xelaced mortgnge loan" even if tho Loan does not qualify as q “federally related mortgage Joan"
under RESPA,

(Q) "Successor in Interest of Borrower” means any party that bas taken ttle to the Property, whether or not
that party hina assumed Borrower's obligations under the Note and/or this Security Insteumont,

TRANSFER OF RIGHTS IN THE PROPERTY

‘This. Seourlty Insteument secures to Lender: (i) the repayment of the Loan, and all renowaltt, extensions ond

modifications of the Note; and Gi) the porformance of Borrower's covennnts and ngreements under this

Sccurity Instrucsent and the Now. Par this. purpose, Borrower in considomtion of this debt does heeeby grunt

nid convey to MERS (solely as nomines for Lender and Lender's successors. and assigns) and to the

mccessors and assigns of MERS, the following doseribed property located in the
COUNTY of PATREIELD .

[typo of Reearding Jurisdiction) (Namo of Recording Jurisdledon)
SEB EXHIBIT °A®° ATTACHED HERETO AND MADE A PART HEREOF.

Parcel ID Number: . which currently has the address of
162 STRAWBERRY HILL AVENUB, NORWALK ,
SaccvCiy)
Connecticut 06851 (“Property Address”);

(2p Code) viva TZ

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TO HAVE AND TO HOLD this property unto MERS (solely as nominees for Lender aad Lender's
muccessors and assigns) and to the successors and assigns of MERS, forever, together with al) the
improvements now or hereaftec erected on the property, and a}) easements, appurtenances, and Gxtures now or
hercaNer a part of the property, All ceplacoments and additions shall also be covered by this Security
Instrument, All of the foregoing js ceferred to in this Security Instrument as the “Property.” Borrower
understands and agrecs that MERS holds only legal dtle to the interests granted by Borrower in this Security
Instrjment, bur, if necessary to comply with law or custom, MERS (as nomince for Lender and Lender's
successors and assigns) hag the right: to exercise any or all of those interests, including, but not limited to, the
right to foreclose and scll the Property; and to take any action required of Lender including, but not limited to,
releasing and canceling this Security Instrument.

BORROWER COVENANTS thnt Borrower is lawfully scised of the estate hereby conveyed and has the
fight to mortgage, grant and convey the Property and that the Property is unencumbored, except for
encumbrances of record, Bosrower warrants and will defend generally the title to the Property. against all
eloinis nnd demands, subject to any cocumbrinces of record,

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited varintions by jurisdiction to constitute a uniform seousity Instrument covering real

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1, Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges, Borrower
shall pay when due the principal of, and interest on, the debt evidenced by tho Note and any prepayment
charges and late charges due vader the Note, Borrower shall also pay funds for Escrow Items pursuant to
Section 3, Payments due under the Note and this Security Instument shall be made in U.S, currency.
However, if any check or other instrument cecelved by Lender 03 payment under the Note ar this Secusity
Instrument is rewumed to Lendor unpaid, Lender may require that any or all subsequent payments duce under
the Note and this Security Instrumont be made In onc or moro of the following forms, as selected by Lender:
(0) cash; (b) money onfer; (c) certified chock, bank check, treasurer's cheek, or cashles’s check, provided any
such check ja drawn upon an institution whose deposits aro insured by 4 federal ogeucy, instrumentality, ot
ontity; or (d) Electronic Funds Transfer.

Paymecals are deemed received by Lender when received at the location designated in the Note or ot such
other location as may be designated by Leader in accordance with the natice provisions in Section 15. Leader
may retum any payment or pastia) payment if tho payment or partial payments are insufficient to bring the
Toan' current, Lender may accept any payment or partial payment insufficient to bring the Loan current,
without waiver of my rights hereunder or prejudice to its rights to refuse such payment or partial payments in
the future, but Lender is not obligated to apply such payments at the time such payments are accepted. If each
Periodic Payment is applied a3 of its scheduled duc date, thea Lender necd uot pay interest on unapplied
funds, Lender may hold such unapplled funds unti] Borrower makes payment to bring the Loan current, If
Borrower docs not do so wilhin a reasonable period of time, Leader shall cither apply such funds or return
them to Borrower. IF not epplicd earlier, such funds will be applied to the outstanding principal balance under
the Note {mmediately por to foreclosure, No offsct or clam which Bonower might have now or in the future
against Lender shall relieve Borrower from making payments duc under the Note and this Security Instrurneat
ar performing the covenants and agreements secured by this Security Instument,

2, Application of Payments or Proceeds, Except as otherwise described in this Section 2, all payments
ocgapted and opplicd by Lender shall be appiicd in the following order of priarity: (n) interest de under the
Note} (b) principal due under the Note; (c) amounts due under Section 3, Such payments shal} be applied to
each Periodic Payment in the order in whick it became duc, Any remaining antounts shall be applied first to
late charges, second to any other amounts due under this Security Insurument, and thea to reduce the principal
balance of the Not.

If Lender receives a payment from Bosrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge duc, the payment may be applied to the delinquent payment and the
Inte qhirge, If mars Uh one Periodic Payment Is outstanding, Lender may apply ny yyment received from
Borrower to the ropmyment of the Pariodic Payment If, and to the exteal thal, each poyment can be paid in
full, To the extont that any excess calsts after the payment is applied to the ful) payment of one or more
Periodic Payments, such excess moy be applied to any Jate charges duc, Voluntary prepayments shall be
applicd first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Noto’ahuull not extend or postpone the duc date, or chango the amount, of the Periodic Payments.

3, Funds for Escrow Items Borrower iiall pay to Lenifer an uio day Periodic Payments are duc under
the Note, unt! the Note ix paid im full, a sum (le “Punds") to provide for payment of smaunts due far (a)
taxes and assessments and other itema which con attain priority over this Security Instrument as a liea or
encunibrance on the Property; (b) leaschold payments or ground rents on the Propesty, if any; (c) preraiums
for any and all msurnnce required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or
any sums payable by Borrower to Lender Jn Jleu of tho payment of Mortgege Insurance premiums in
accordance with the provisions of Section 10, These items are called "Escrow Items,” At origination or at any
time during the term of tho Loan, Lender may require that Community Association Dues, Fees, and
Ansejrmenty, if any, be escrowed by Borrower, and such dues, feos and assessments shnll hie an Essrow item.

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Boirower shall promptly famish to Lender nl! notices of amounts to be paid under this Section. Borrower shall
pay Lender the Funds for Escrow Items unless Lendor waives Borrower's obligation to :pay the Funds for any
or all Excrow Item. Londer may waive Borrower's obligation to pay to Lender Funds for any or all Pserow
Items nt any time. Any such waiver may only be in writing, In the ovent of such waiver, Borrower shall pay
direcy, when and where payable, the amounts duc for any Escrow Items for which payment of Funds has
beer waived by Lender and, if Lender requires, shall fumish to Lender recoipts evidencing such payment
within such Gime period as Lender may sequire. Borrower's obligation to make such payments and to provide
receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
Instqument, og tho phrass “covenant and agrecment" is used in Section 9. If Borrower Is oblignted to pay
Escrow Items directly, pursvant to a waiver, and Borrower fails 10 pay the amount due for an Bscrow Item,
Lender may exeroise its rights under Section 9 and pay such amount and Borrower shall then be obligated
under Section 9 to repay to Lender any such amount. Lendes may revoke the waiver as to any or all Escrow
Items at any timo by a notice given in accordance with Seetion 15 and, upon such revocation, Borrower shnll
poy (0 Lender ol] Funds, and in such mounts, that-are thon required under this Socuign 3.

Lendor mny, at any timo, colleot and hold Funds in an amount (0) sufficient to permit Lender to apply the
Punds ut the timo specified under RESPA, and (6) not to exceed the maximum amount 4 leader con require
under RESPA, Lender shall estimate the amount of Funds due on the basis of current data and reasonable
estimates of oxponditures of future Escrow Items or otherwise in accordance with Applicable Liw,

‘The Funds ahall bo hold in nn institution whose deposits are insured by a federal ngeney, instrumentality,
of ontiry (including Lender, if Lender is on institution whose deposits.are so insured) or m any Fedor Home
Loan Bonk. Lender aboll apply the Funds to pay the Bscrow Items no Jater than the time specified under
RESPA, Lender shnll not charge Borewer for holding and applying the Funds, annually anelyzing tho escrow
gecount, a verifying the Bscrow Items, unless Lender payy Borrower interest on the Funds and Applicable
Law. permits Lender to male: guch a charge. Unless an agreement is made in wating or Applicable Law
requires interest to be pald on the Funds, Lender shall nit be required to pay Borrower any interest or oamings
on the Funds. Borrower ond Lender can ogrec in writing, however, that interest shall be paid on the Punds,
Lender shall give ta Borrower, without charge, an annual accounting of the Funds as required by RESPA,

If there is a surplus of Punds hold! in escrow, as dofined under RESPA, Lender shall account 10 Borrower
for the oxcess funds in uccartonce with RESPA. If there is a sbortage of Punds held in escrow, a9 defined
under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the
amount necessary to mike up the shonage in scconjance with RESPA, but in no moro than 12 montily
payments, Lf there is o defictency of Funds held in escrow, ag defined under RESPA, Lender shall notify
Barrower as required by RESPA, and Borrower shall pay (o Lender the amount necessary fo minke up whe
deficiency in accordance with RESPA, but in no more thon 12 monthly payments,

Upon payment in full of alt girs ceoured by this Security Instrument, Lender slinll promptly refund to
Borrower apy Funds held by Lender,

4, Charges; Liens. Borrower shall pay all waxcs, nssesiments, charges, Hints, and Impositions atriburable
to the Propesty which cam attnin priority over this Security Instrument, leachold payments or ground rents on
tho Propésty, if any, nad Community Association Dyes, Fees, and Aysessmonts, if any. To the extent that these
items are Excrow Items, Borrowor shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which hos priority over this Security Instrument wnless
Borrower: (8) agrees in writing to the payment of the obligation secured by tho lion in a mannor secoptnb!e to
Lendes, but caly.eo long 23 Borrower Is performing such agreeraent; (0) contests the lien in good faith by, or
dofends ogninat enforcement of the lien in, legal procecdings which In Lender's opinion opemie to prevent the
enforcement of the lien while those proceedings are pending, but only until wuch proceedings are concluded;
or (¢) secures from the holder of the Jien an agrcement satisfactory to Londor subardinuting the Heo to this
Security Instrument. If Lender determines: that any part of the Property is subject to a ton which ctin, ntlain
peority over this Socurity Instrument, Lendor omy give Borrower a nolico identifying the lien, Within 10 daya
of the date on which that nouce fy given, Bomowor shall satisfy the lien or ke one or mor of the agdons set
forth uboye in this Section 4,

Lender may require Hormwer to pay.n one-time charge for n coal estate tox verification anor roporting
service used by Lender in connacetion with this Loan,

5. Property Insnravee, Borrower shall keep the impmyements now sxisting or hereafter erected on the
Propesty insured against losu by fire, hazards included within the term “extended covernge,” aad may other
hazards including, but not limited to, cacthquakes nnd floods, for which Leader requires insumneo, This
insurnnce stall be cinintalned in the arwounts (including deductible lovels) and for the periods that Leader
requires, What Leader requimes pursunnt to tho preceding sentences ‘can chonge during the term of the Loan,
The insurunce carier providing the instmuce shall be chosen by Borrower subject 19 Lender's sight lo
disapprove Borrower's choice, which right shall not be exercised umreasonably, Leader may require Borrower
to pay, in conneetion with wily Lonn, olther: (0) a one-time chnige for food zone determination, certification
and iteneking, services; of (b) a one-time charge for flood zono determiantion and cortification services nod
gobdoquont charges cach time romuppings or similar changes occur which reasonably might affect auch
deticrminution of certification, Borwwer shall alse bo responsible far the payment of any fees Imposed by tho
Fedéml Emergency Management Agency In connetction with the review of aay Dood zone determination
resulting fram an objecdian by Borrower.

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If Borrower fails to maintain any of the coverages described above, Lender may obmin insurance
coverage, at Lender's option and Borrower's expease. Lender is undex no obligation to purchase any particular
type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might not protect
Borrower, Borrower's equity in the Property, or the contents of the Property, ngninst any risk, hazard. or
Novility and might provide greator or lesoer coverage than was proviously in cffect. Barower acknowledges
that the cost of the insurance coverage so obtained might significantly exceed the cost of Insurance that
Borrower could have obtained, Any amounts disbursed by Lender under this Section 5 shal! become additional
debt of Boxower secured by this Security Instrument. These amounts shall bear interest at the Note mic from
the date of disbursement and shal) be payable, with such interest, upon notice from Leader to Borrower
requésting payment.

All insurance policies required by Lender and renewals of such policies shall bo subject to Lender's right
to disapprove such policies, shall include a standard morgage clause, and shall nome Leader os mortgages
and/or os an additional Joss payee. Lender shall have the right to hold the policies and mnownl certification, If
Leader coquires, Borrower shold promptly givo to Lender all receipts of paid premivms and renewal notices, If
Borrower obtains any form of ingurince covers, not olherwite required by Lander, for damage to, or
destrction of, the Propesty, such policy shall include a standard morigage clause and shall name Lender as
morthages and/or as en additional toss payes,

In the event of loss, Borrower shall give prompt notice to the insurance camier and Lender, Lender may
maké proof of loss if not made promptly by Barrower. Unless Lender and Borrower otherwise agree in
writing, any insurance proceeds, whether or not the underlying insuunce wos required by Lender, shall be
applied to nestorition or ropalr of tho Property, If the restoration ar repair is cconumically feasible and
Leader's geaurity is not lessened. During su¢h repalr and resignation period, Lender shall have the right to botd
such inyumnce proceeds unt] Lender has hed an opportunity 19 Inspect guch Property to onsure the work has
been completed to Lender's satisfaction, provided that such inspection shall be undestnken prompuy. Lender
muy disburse proceeds for the repair and mstomtion in o single payment or in o series of progress payments
os the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be
pald on sich Inunmeo procteds, Lender shall not be required to pay Borrower ony interest or earnings on
such proceeds. Pees for public adjusters, or other third paioy, retnined by Borrower slull not be paid out of
the inmumnee proceeds und shall be the solo oblization of Borrower, If tho sestomtion or repair is not
economically feasible or Lender's security would be lessened, the insurance proceeds shall be applied to the
sums secured by this Security Insteument, whether or not then due, with the excess, if any, paid to Borrower.
Such insurance proveeds shall be applied in the order provided for in Seetion 2.

If Borrower abandons the Proparty, Lender may file, negotiate and sce amy available insurance claim
and related matiers, If Borrower docs nol respond within 30 days to a notice from Lender thot the insurance
Garties has offered to settle a olpim, thon Lender may negotiate and seule the claim. The 30<day period will
begin when the notice is given. In elther event, or if Lender ncquires the Property under Section 22 ar
otherwise, Borrower hereby assigns to Lender (2) Borrower's rights to any insumuice procecds in an amount
not to exceed the amounts unpaid under the Note ar dis Security Instrument, and (b) any other of Bomower’s
sights (othee than the right to nny refund af uneamed promiume paid by Bomowes) under all insuranes policies
oovering the Fropuny, insofar ns such sights-are applicable to tho covernge of tho Property. Lender may use
the insure proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this
Security Instrument, whether or aot then duc,

6, Occupancy, Borrower chull occupy, establish, and wee the Property as Borrower's principal residéenco
within GO dayo after the execution of this Sccurity Instrument and shall continue to occupy the Property aA
Borrowor's principal sesidenco for at leant one your after the date of occupancy, unless Lender otherwise
agrees in writing, which consent aholl not be unreasonably withheld, or unless oxtoriuating clroumstances exist
which ore beyond Borrower's conwol.

7, Preservation, Matntenmnce ond Protection of the Property; Inspections. Borrower shal) not
destroy, damoge or impalr the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrowor is residing in tho Property, Bomower shall maintain the Property in order to prevent
the Propesty from doteciorating or decreasing in value due to its condition, Unless It is determined punruont to
Section S that repair or restoration is not economically feasible, Borrower chal! promptly repale the Property if
domaged to avoid further detesioration or damage. If ingummes ar condemmation proceeds ate paid in
eonnection with damnge to, ‘or the taking of, the Property, Borrower shall be responsible for repairing or
restoring the Property only If Conder hoy released proceeds for such purposes, Leader may disburse proceeds
for the repolry ond restoration {ao single payment or In a deries of progress payments os tie work Is
completed. If the insurance or condemnation procecds ere not sufficient to repalr or restore the Property,
Borcower is not relieved of Borrower's obligation for the completion of such repair or restorauion,

Lender or its agent may make reasonnble entries upoa and inspections of the Property, IF it has
reasonable cause, Lender may inspect Ibe interior of the improvements on the Property, Lender shall give
Borwer notice at the time of or prior to such an interior inspection specifying such reasonnble cause.

 

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8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
consent gave materially false, misleading, or inaccurate informotion or statements to Lender (or failed to
provide Lender with materia) information) in connection with the Loan. Material representations include, but
are not Jimited to, representations concerning Borrower's occupancy of the Property as Borrower's principal
residence,

9, Protection of Lender's Interest in the Property aud Rights Under this Security Instrmmeatl, If (a)
Borrower fall to perform the covenants and wgreements contained in this Security Tastrument; (b) there is a
logal proceeding that right significantly affect Leudos’s intorcat in the Property and/or rights under this
Security Instrument (such os a proceeding in bankruptcy, probate, for condemmation or forfeiture, for
enfoccement of a lion which muy otthin priocity over this Security Instrument or to enfarca Inwa. or
rogulhitions), or (¢) Borrower bos ibandoncd the Property, then Lender omy do and pay for whatever bs
reasonable or appropriate to protect Lender's Interest in the Property and rights under this Security Ingtrument,
including protecting and/or assessing the value of the Property, ond securing and/or repairing the Property,
Lender's actions can include, but are not limited to: (0) paying any sums secured by a lien which has priority
over this Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys’ fees to protect its
Interest in the Property and/or rights under this Security Instrument, including its sccurcd position In o
bankrupicy proceeding, Securing the Proporty includes, but is not limited to, entering the Property to make
repairs, changs locks, replace or board up doors and windows, drain water frous pipes, eliminate building or
other code violations or dangerous conditions, and have utilities tumed on or off, Although Lender may take
action under this Section 9, Lender does not have to do so and Js not under any duty or obligation to do ao, It
is agreed that Lender incwrs no liability for not teking any or all actions authorized under this Section 9,

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured
by this Security Instrument, These amounts shall bear interest at the Note rate from the date of disbursement
and shal! be payable, with puch interest, upon notice from Lender to Borrower requesting payment.

‘Af this Security Instrument is on a leaschold, Borrower shall comply with all tho provisions of the lease,
Uf Barrowor acquires fcc title to the Property, the leasehold and the fee Ue shall not merge unless Lender
agrees to the merger In writing.

10, Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required (o maintain the Mortgage Insurance in effect. If, for any reason, the
Morigage Ingurance coverage required by Lender ceases to be available from the mortgage insurer thar
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
substantially equivalent to the Mortgage Insurances previously in effect, at a cost substantially equivalent to tho
cost (o Borrower of tic Mostgage Insurance previously in effect, fom an allemals mortgage insurer selected
by Leader, If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue
to pay to Lender tlig amount of the separately designated payments that wero due when the insurance coverage
ceased to be in effect. Lender will nccepi, tse and retain theee payments 0s © non-refundable foss eeserve in
Nev of Mortgage Inpurance, Such loss rserve shall bo non-refundublo, notwithstanding the fact thal the Loan
j3 uldimately pald in full, and Lender shall not be required.to pay Borrower ony interest or carnlngs on such
logs reserve, Lender can no longer requiré loss resorve payments if Mortgage Insurance coverage (in the
amount and for the period that Lender requires) provided by an insurer sclected by Lender again becomes
available, is obtained, and Lender requires separately designated payments toward the premiums for Mortgage
Insurance, If Lender required Morigoge Insurance as a condition of making the Loan ond Borrower was
required to make peparatoly designated payments toward the premiums for Mortgage Insurance, Borrower
sholl pay the premivms required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
reserve, unul Lender's requirement for Mortgage Insurance ends in accordance with any written agreement
between Borrower and Lender providing for such termination or until termination bs required by Applicablo
Law, ‘Nothing in this Section 10 affecis Bomrower’s obligation to pay juterest at the rate provided in the Note,

Mortgage Insunince reimburses Leader (or any entity that purchases the Note) for cermin losses it may
incur if Borrower docs not repay the Loan os agreed, Borrower is not a party to the Mortgage Insurance.

Mortgage insurers evaluate their total sisk on all euch insurance in force from tims to tinue, and may enter
into agreements with other parties that share or modify their risk, or reduce losses, These agre¢ments arc on
terms and conditions that are sutistictory w the mortgage insurer and the other party (or parties) to these
agreements, These agreements may require the mortgage insurer to make payments vsing any source of funds
thes the mostgago insurer may bave available (which may include funds obtained from Mortgage Insurance
premiums).

Asa result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
other entity, or any affiliate of any of the foregoing, may receive (dirceily or indirectly) amounts that derive
from (or might be characterized as) a postion of Borrower's payments for Mortgage Insurance, in exchango for
sharmg or modifying tho mortgage Insurer's risk, or reducing losses, If such agreemeat provides that on
affiliate of Lender takes o share of tho insuter’s risk in exchange for & share of tho premiums paid to the
insuces, the arrangement is often termed “captive reinsurance.” Further:

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_ fo) Any such agreements will not.affect the mmovats that Borrower has agreed to pay for Mortgage
Insnrance, or pny other terms of the Loon, Such agreements will not inercase the mmount Dorcower will
owe for Martgnge Inmurance, and they will not entity Borrower to any refand.

(b) Any such ngreements will not affect the rights Borcower has ~ if ony - with respect to he

0 Yosurance under the Homeowners Protection Act of 1998 or any other law. These rights moy
ineltde the right to recelve certiin disclonurcs, to request aud gbtaln cancellation of the Morlgage
Insurance, to have the Mortgage Insnrance terminated ontomntically, and/or to receive o refund of any
Mortgnge Insurance premiuny that were wiearned at tho tine of such cancelation or texminntion,

1L. Assignment of Miscellaucons Proceeds; Forfeiture, All Miscellancous Proceeds aro hereby
sssigned to and shal] be pold w Lender,

If the Property is damaged, nich Miscelluncous Proceeds shall bo applicd to restoration or repair of the
Property, if the rextomtion or repair ts economically feasthle tind Lender's security is not lessened. During such
cepair ond restoration period, Lender shall have the right to hold such Miscellancous Procecds until Lender hos
had an opportunity to inspect mush Property to enoure the wark has been completed to Leader's nauefacdon,
provided thor auch inspection shall be undertaken promptly, Lender may pay for the ropalre and restorution in
& single distursement or in w serie of progress payments og the work In completed. Unless on agreemont is
mudé In writing or Applicable Luw squires interest to be paid on such Miscellancous Proceeds, Lender shal)
not He mquleedd to pay Borrowes uny Interest or earnings on much Miscellaneous Proceeds, If the restomuon or
repnir js not cconomically feasible or Lender's secuclty would bo leascned, the Miscellancous Proceeds shall
bo upplicd to tho sums secured by this Securly Inswument, whether or not then due, with tho oxcoss, Wf any,
paldilo Borrower, Such Miscellancous Progeeds shall be applied in tho order provided for in Section 2,

In tho event of o tot) taking, destruction, or foss.in value of the Property, the Miscellaneous Proceeds
shall be applied to tho sums secured by thia Security Tostroment, whether ar not then duc, with the excesa, If
any, |puid (o Bosower.

In the vont of n partial tating, destruction, or logs in value of the Property in which the fair marker value
of the Property immodiately before the partial taking, destruction, or loss in value fs equal to or grenter than
the amount of the numa secured by this Sectirity Tastrument immediately before the partin! tnldng, destruction,
or Joss in value, unless Borrower ond Lender otherwise agree in writing, the sucus secured by this Security
Instrument shall be reduced by the umonnt of the Miscellancous Proceeds multiplied by the following fraction:
(0) the tolal amaunt of the sums secured Immediately beforo the partial taking, destruction, ox Joss in value

| divided by (b) the {nie marker ynlup of the Property imavedidtely before the partial inking, destruction, or loss

| in value. Any bolance shall be paid jo Borrower.

Jn the-event of n partial tating, destruction, or loss In value of the Property in which the fate market valuc
of the Proporty immedintely before the partial toking, destruttion, or Joss in value is Jess Minn the amount of
the Sums reoured immedintely before the partint taking, destruction, or fons in value, untess Borrower and
Lendoe ollierwise agree in writing, lhe Miscellancous Proceeds shall be npplied to the sums semured by this

| Security Losicument whetlier os nol dhe sums are then duc,

| Hf tho Property ig abandoned ty Borrower, or if, alter notice by Lender to Borrower thot the Opposing

| Party (aa defined in the noxt scntonce) offers to make an award to sete a claim for damages, Borrower fails to

| respond to Lender withio 30 days after the date the sotice Is given, Lender ts uuthorized to collect and spply
tke Miscatloncous Proceeds either to reatnration ar mpnir of the Property or to ihe sums secured by this
Security Instrament, whether or not thea due, “Opposing Pasty" means: the third party that owes Borrower

| Miscelluncous Proceetld or the pany against whom Bomowwer bns-a sight of action in regurd to Miscellancous
Proceculs,

Borrower shall be in default if any acdon or proceeding, whother civil or criminal, is begun what, in
Lender's Judgment, could result in forfeiture of the Property or other material impairment of Lender's interest
in the Property o¢ sights under this Security Instrument. Borrower can cure such a default and, if accelertion
les occurred, reinsmto on provided in Seotion 19, by causing the aetion or proceading to be dismissed with a
ruling that, in Lender's judgment, prociudes forfeiture of tho Property or other omaterial impainnent of Lendor's,
interest in the Property or right under this Seeuriry Instrument. The proceeds of imy award or claim for
damages Uhot we attributable to the ipalrment of Lender's integost in tho Property are hereby assigned ond
j shall be paid to Lender.
| All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in
the order provided for in Section 2. .

12, Borrower Not Released; Forbearance By Lendor Not a Waiver. Extension of the tims for
psyoseat or modification of amortization of the sums scoured by this Security Jostrument granted by Lender to
Borrower or any Successor in Interest of Borrower shall not operate tw release the linbility of Borrower or any
Successors tn Intorest of Borrower. Lender shall not be required to commence proceedings against any
Successor in Intensat of Borrower or to refs to extend thine for payment of otherwise modify umortization of
the sums secured by thin Security Instrument by reason of any deynund made by the original Borrower or any
Successor in Interest of Borrower, Any forbeamnee by Lender In oxeroising any right or remedy including,
owithout limitntion, Lendex’s acceptances of payments from third persons, entities ar Successors in Interest of
Bogowee or in amounts less than the amount then due, ahall not be a waiver of or preclude the exercise of any
right or remedy.

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13, Joint and Severa) LiabHity; Co-signera; Successors and Assigns Bound, Borrwer covenants mid
agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
co-signs this Security Instrument but does not execute the Note (a "co-sigacr"): (a) is co-slgning this Sccurity
Instrument only to mortgage, grant and convey the co-signer’s interest in the Property under the terms of this
Security Instrument; (b) is not personally obligated to pay the sums secured by this Security Instruments and
(¢) agrees that Londer and any olber Borrower can agree to oxtend, modify, forbear or make any
accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
consent.

Subject to tho provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligutions under this Security Instrument in waiting, aud is approved by Lender, shall obtain all of Boxrower’s
rights and benefits under this Security Instrument Borrower shall not be released from Borrower's obligations
and liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
agteements of this Security Instrument shall bind (except as provided in Section 20) and benefit the successors
and assigns of Lender,

14, Loan Charges, Lender may charge Borrower fees for services performed in connection with
Borrowers default, for the purpose of protecting Lender's interest ia the Property and rights under this
Security Instrument, including, but not limited to, altoraeys' fees, property inspection and valuation fees, In
regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee to
Borrower shall not be construed as a prohibition on the charging of such fee, Lender may not charge fees that
are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that low 3s finally interpreted so
that the interest or other Joan charges collected or to be collected ln connection with the Loan exceed the
permitted limits, then: (a) any such lonn charge shall be reduced by the amount necessary to reduce the charge
to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted mits will
be réfunded to Borrower, Lender may choose to make this refund by seducing the principal owed under the
Note or by making a direct payment to Borrower. If'a refund seduces principal, the reduction will be treated as
a partiol prepayment without any prepayment charge (whether or not a prepayment chargo ia provided for
under the Note). Borrower’s acceptance of any such refund made by direct payment to Borrower will
constitute o waiver of any right of action Borrower might have arising out of such overcharge.

15. Notices, All notices given by Borrower or Lender in connection with this Security Instrument must
be in writing, Any notice to Borrower in connection with this Security Instrument shall be deemed to have
beea: given to Borrower when mailed by first class mail ar when actually delivered to Borrower's notice
addetss if sent by other means. Notice to any one Borrower aboll gonstitute notice to all Borrowers unless
Applicable Law expressly requices otherwise. Tho noiieo addinss shall be the Property Address unless
Borrower has designated a substitute notice eddross by notice io Lender. Borrower shall promptly notify
Lender of Borrower's change of address. If Lendor specifics 9 procedure for reporting Borower's change of
address, then Borrower shall only repost a change of address through that specified procedure. Thore may be
only ‘ove designated notice address under this Security Instrument at any one time. Any notice to Leader eball
be given by delivering it or by mailing it by first class mail to Lender’s address stated hercin unless Lender has
designated another address by notice to Borrower, Any notice in connection with this Security Instrument
shall:not be deemed to have been givon to Lendar until actually received by Lender. If any notice required by
this Security Instrumeat is also required under Applicable Law, the Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrument,

16, Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
by federal law ond the law of the jurisdiction in which the Property is located, AJ) rights and obligations
contained in this Security Instrument aro subject to any requirements and Jimitations of Applicable Law,
Applicablo Law might explicitly or implicitly allow the paxtics to agree by contract or it might be silent, but
such silence shall not be construcd as a prohibition against agrecment by contract, In the event that any
provision ar clous¢ of this Security Inswument or the Note conflicts with Applicable Law, such conflict shall
not affect other provisions of this Security Instrument or the Note which can be given effect without the
conflicting provision.

As used jn this Security Insuument: (8) words of tho masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and include
the plural and vice versa; and (c) the word “may” gives sole discretion without any obligation to take any
action.

17. Borrower's Copy. Barrower shall be given one copy of the Note and of this Security Insument.

18. Transfer of the Property or a Beneficial Interest In Borrower, As used in this Section 18,
“Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited to,
those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or escrow
agreement, the intent of which is the transfer of tide by Borrower at a future dato to a purchaser,

‘IF al) or any part of the Proporty or any Intercst in the Property is sold or unsforred (or if Borrower is not
0 natal person and 2 beneficial interest ln Borrower fs sold or transforred) without Lender's prior written
consént, Louder may require immediate payment In full of all sums secured by this Securily Inswument.
Howéver, this option shal! not be exercised by Lender if such cxerelse is prohiblied by Applicable Law.

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If Lender exercises this option, Lender shall give Borrowor notico of acceleration. The notice shall
provide a period of aot Icss than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument, If Borrower fails to pay these
sums ptier to tho oxpimtion of this poriod, Lender may invoke any remedies permitted by utis Security
Instrument without further notice or demund on Bormower,

19. Borrower's Right to Reinstate After Acccterntion. If Borrowor meets certain conditions, Borrower
shall have the sight to bave enforcemont of this Sccurlty Instrument discontinued at any time prior to tho
earlicst of: (a) five days before snle of the Property pursuant to any power of sale contained in this Security
Instrument; (b) such other period as Applicable Law might specify for the termination of Borrower's right to
reinstats; or (c) entry of a Judgment enforcing this Security Instrument, Thoso conditions are that Barrower:
(a) pays Leader all sums which tien would be duc under this Sccurity Instrument and tho Note as if no
acceleration had occurred; (b) cures eny default of any other covenants or agreements; (¢) pays all expenses
incufred in enforcing thie Security Ingtroment, Inaluding, but not limiled to, reasonable anomeys' Seca,
pro, inspection nnd valuation feen, and other fees incurred for the purposo of protecting Lender's interest
in the Property and rights tadar this Security Instrument; and (d) tikes such action ns Londer nny reasonably
requite to asso that Lender's interest in the Property and righty under tip Security Instrument, ond
Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged. Lender
may require that Borrower pay such relnsintement suns ond expenses jn one or mare of the following forms,
as sclected by Londée: (n) cash; (b) monsy ones; (c) cortificd cheek, bank chock, treamirer’s cheek or caahior’s
check, provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
insuumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security
Instrument end obligations secured hereby shall remain fully effective as if no accelernion bad occurred,
However, this sight to rinstate:shall not apply in the case of acceleraiion under Section 18.

20, Sale of Noto; Change of Loan Servicer; Notice of Grievanty. The Note ar a partinl interest in the
Note (together with utis Security Instrument) can be sold one or morc times without prior notice to Borrower,
A solo right result in a clunge in the entity (known as the “Loon Servicer") that collects Poriodle Faymonts
due under the Noto and thin Seauslty Instrument and performs other morigage loan servicing obligations under
the Note, this Security Instmument, and Applicable Law, Thero also might be onc or moro changes of ths Loan
Seevicer unreloted to a sale of the Noto. If there is a change of the Loan Servicer, Borrower will bo given
written uotles of the change which wilJ state the name and address of tho new Lonn Servicer, the address to
which payrmonts should be made and any other information RESPA requires a councotion with a notice of
trinsfer of servicing. If the Now ig sold nnd thorenfter the Loan is sorviced by a Loan Sorvicer other than the
purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with tho Loan Servicer
or be transferred to a successor Loan Servicer and are not assumed by Uto Note purchaser unless otherwise
provided by tie Note purchaser.

Neither Borrower nor Lendor may commence, join, or be joined to any judicial action (as either an
individual litigant or the momber of a class) that arises from the other party's nections pursuant (o this Security
Tnetrumnent or thnt alleges that the other party hog breached ony provision of, or any duty owed by reason of,
this Sovurity Inutumant, undl such Borrower or Lender tna notified tho other party (with such notice given in
gounplingce with the cequiretnents of Section 15) of ach alleged breach and esforded the olber purty bercto o
reasonable posiod ufler the giving of auch notice w ike comective action, If Applicable Law provides a ume
perigd which must clapse bofore certain action can be taken, thnt time period will be deemed to be reasonable
far purposes of this pamgraph. The notice of aocelenition and opportunity to cure given to Harower punmuant
to Section 22 and the notice of ucccleration given to Borrower pursuunt to Seotion 18 shall be deemed to
qutinfy the notice und opportunity to inke corrective action provisions of (his Section 20,

21, Hazardous Substances. As used in this Section 21: (0) "Hazardous Substnnces" nre those substances
defiricd as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following
subsiemees: gasoline, kerosene, other Mammuable or toxic petroleum product, toxic pesticides nnd hezbioides,
volatile solvents, materials containing. asbestos or formaldehydo, and rndionctve materials; (0)
"Environmental Law" means federal Jaws ond laws of the jurisdiction where the Proparty is located that rotate
to health, sofety or enviromental protection; (0) “Enviroamenial Cleonup" includes ony response action,
remedin! uction, or removal action, as defined in Huvironmental Law; and (d) an "Environment! Condition"
toans 0 condition that etn cause, contribute to, or otherwise tigger on Environmental Cleanup,

Borrower shoal] not cavse or pecmit the presence, use, disposal, storage, ar release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall nol do, nor
alow anyone else to do, anything affecting the Propesty (e) that is in violation of any Environmental Law, (b)
which creates an Environmental Conditioa, or (c) which, due to the presence, use, or release of a Hazardous
Substance, creates a condition that adversely affects the value of the Property. The preceding two sentences
shall’ not apply lo the presence, use, or storage on the Propery of small quantitics of Hazardous Substances
that are generally recognized to be appropritte to normal cesideatin) vsos end to maintenance of tho Fropeny
(including, but nal limited to, hazardous swhztunces in comminier products).

Borrower shall promptly give Leadar written riotice of (a) any inveatigation, cium, demand, lawsuit or
tither action by any governinental or regulatory agency or private pany involving tho Property aad any
Hozardous Substance or Havironmental Law of which Borrower bas actual knowledge, () any Envircomental
Condition, including but not Jimited to, any spilling, tcaking, discharge, release or threat of release of any

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Hazardous Substance, and (¢) any condition caused by the presence, use or release of e Hazardous Su co

which adversely affects the value of tho Property. If Borrower leas, or is notified by any governmeatol or
roguiotory authority, or any private party, thal nay romoynl or other remediation of any Hazardous Substance
affecting Uke Property ju necessary, Borrower shall promptly take all necessary remedinl actions in accordance
with Environmental Law. Nothing hertin shall create tiny obligntign on Lender for an Environmental Cleamup,

‘:NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22, Acceleration; Remedies. Lander shill give wotce to Borrower prior to nccoleration flowing
Borrower's brench of any covenant or agreement in this Security Instrument (ont oot prior to
neceleration under Section 18 uniess Applicahto Law provides otherwise). The notles ahall spceify; (0)
the default; (b) the action required to cure tho defaults (c) a dato, not fess than 30 days from the date the
nolice is given to Borrower, by which the default must be cured; and (d) that failure to care the defoult
on or before the date specified in the notice may result in acceleration of the sums secared by this
Security Instrument and foreclosure or sale of the Property, The notice shal) further inform Borrower
of fhe right to relustate after acceleration and the right to assert in court the non-existence of o default
or any other defense af Borrower to acceleration and foresJosnre or sale. If the default is not cured on or
hefore the date specified in the notice, Lender at its option may require immediate payment Jn fall of all
sums secured by this Secarity Instroment without further demand and mny invoke any of fhe remedies
permilted by Applicable Law, Lender shall be entitled to collect all expenses incurred in pursuing the
remedies provided in this Section 22, including, bot not limited to, reasonable allorneys’ fees and costs
of title cyidence,

23, Release. Upon payment and discharge of all sumy secured by this Security Instrument, this Security
Instroment shall become null and void and Lender shall release this Security instrument. Borrowor shall pay
any recordation costs. Lender may charge Borrower a fee for releasing this Sceurity Instrument, but only if the
fee is paid to a third party for services rendered and the charging of the fee is permitted under Applicable Law.

24. Waivers, Borrower waives all rights of homestead exemption in, and statutory redemption of, the
Property and all right of appraisement of the Property and relinquishes al] rights of curtesy and dower Jn the
Pr :

are Futore Advanecs, Lender is specifically permiued, at its option and ia ils discretion, to make
addillonal loans and future edvances under this Security Instrument as contemplated by Section 49-2(c) of the
Connecticut General Statutes, and shall have all sights, powers and protections allowed thereunder,

BY SIGNING BELOW, Borrower accepts and agrees to the lorms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:

 

Borrower

Leeflamn ng (Seal)

(Seal)
Borrower

 

(Sea)

 

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STATE OF CONNECTICUT, Nes Hosa Countyas: TMeviaen

The foregoing instanent was acknowledged before me this je Lay of fjete, 1029

    

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Prepared by: EMILY LAVERDIERE
COUNTRYWIDE HOME LOANS, INC.

Branch #: 0000216

401 WAMPANOAG TRAIL SUITE 200
DATE: 04/07/2004 EAST PROVIDENCE, RI 02915
CASE #: Phone: (401) 431-4600
DOC |ID#: I) Br Fax No.: (401) 434-4287
BORROWER: STANLEY H,. THOMPSON
PROPERTY ADDRESS: 162 STRAWBERRY HILL AVENUE

NORWALK, CT 06851

LEGAL DESCRIPTION EXHIBIT A

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SCHEDULE A
DESCRIPTION

All that certain piece, parcel or tract of land with the buildings
thereon, shown and designated as "Lot 1, 23.359 more or less, S.F.
0.5363 AC. " on that certain map entitled, "Subdivision Map of
Property Prepared For the Estate of Hazel Bronson Thompson Norwalk,
Connecticut Scale 1" = 30' date December 13, 1995" which map bears the
legend "This survey meets the standards of a Class 'A-2' Survey Wayne
J. Arcamone, Connecticut Reg. #15773" and which map is on file in the
office of the Norwalk Town Clerk as Map No. 11573. In accordance with
said map the said premises are bounded as follows: Northerly: 125.38
feet by Strawberry Hill Avenue; Easterly: 242.70 feet by land now or
formerly. of the City of Norwalk; Southerly: 101.04 feet by Land now or
formerly cf Russet and Josephine Bassett, and land now or formerly of
Harry J. Mills, III and James S. Mills, each in part; Westerly; 204.72
feet by Lot No. 2 as shown on sald map.

ve ans ny

Book5368/Page13

 
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EXHIBIT C
Case 19-50486 Doci13 _ Filed 06/03/19 Entered 06/03/19 16:40:01 Page 33 of 70

 

UAMOUUY QUENY OUND HOLY |
| =Redacted Information UA
Cf .

INSTR & 2017003844

an VOL S504 PG S64

r RECORDED 03/23/2017 11827008 Al
RICHARD A. MCQUAID
TOWN CLERK WORWALK CT

[Space Above This Line for Recording Data]

When Recorded Mail To:

FIRST AMERICAN TITLE COMPANY ia: ;
NATIONAL RECORDING _ oT:
1100 SUPERIOR AVE, SUITE 200 FIRST AMERICAN ELS 2 my
CLEVELAND, OH 44114 ASSIGNMENT

Tax/Parcel #: D:5 B:3A L:3

ASSIGNMENT OF MORTGAGE

For Value Received, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC,
("MERS") AS NOMINEE FOR COUNTRYWIDE HOME LOANS, INC,, ITS SUCCESSORS AND
ASSIGNS (herein “Assignor’), whose address is P.O. Box 2026, Flint, MI 48501-2026, docs hereby grant,
assign, transfer and convey unto BANK OF AMERICA, N.A. (herein “Assignee”), whose address is 1800
TAPO CANYON ROAD, SIMI VALLEY, CA 93063, and its successors and assigns all its right, title and
interest in and to a certain Mortgage described below,

Mortgagee: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. ("MERS"), AS
NOMINEE FOR COUNTRYWIDE HOME LOANS, INC., ITS SUCCESSORS AND ASSIGNS
Borrower(s): STANLEY H THOMPSON

Date of Mortgage: APRIL 7, 2004

Original Loan Amount: $225,250.00

Property Address: 162 STRAWBERRY HILL AVENUE, NORWALK, CONNECTICUT 06851

Recorded on APRIL 12, 2004 in INSTRUMENT NO. 2004008246 BOOK 05368 PAGE 0001 TOWN OF
NORWALK , State of CONNECTICUT.

 

 
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ers Ty

IN WAAR TB “ON” the undersigned has caused this Assignment of Mortgage to be executed on

Date

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS") AS NOMINEE FOR
COUNT! IDE WOME LOANS, INC., ITS SUCCESSORS AND ASSIGNS

By: , REGINA L MCKAY
ASSISTANT VICE PRESIDENT

iia (Signature):
a : Clayto on

 

  

jiness (Signature):

 

Deborah Abele
Witness (Print Name)
[Space Below This Line for Acknowledgments]
STATE OF FLORIDA
COUNTY OF HILLSBOROUGH

The foregoing instrument was acknowledged before me this MAR 16 27
by REGINA L MCKAY, ASSISTANT VICE PRESIDENT, of MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC. ("MERS") AS NOMINEE FOR COUNTRYWIDE HOME LOANS,

INC., ITS SUCCESSORS AND ASSIGNS, on behalf of the company, He/She is personally k or
oduced AYP __-———____ as identification.

¢ ir MARTHA LUCIA CORREA

Nita Wubli
& % Notary Pubic, State of Florida
Commisslon# FF 192644
rinted Name: ___ My comm, explras Jan. 26, 2019

 

 
  

 

 

 

 

 

My commission expires: V262019

 

 
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EXHIBIT D
Case 19-50486 Doci3_ Filed 06/03/19 Entered 06/03/19 16:40:01 Page 36 of 70
Case 19-50486 Doc1 Filed 04/12/19 Entered 04/12/19 15:49:22 Page 49 of 64

Fill in this information to identify your case;

Debtor 4 Stanley H. Thompson

First Name Middle Name Lasi Name

 

Debtor 2
(Spouse, if fling) First Name Midate Name

 

United States Bankruptcy Court for the: District Of Connecticut

Case number QO] Check if this is an
(If known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 = izs

 

If you are an individual filing under chapter 7, you must fill out this form if:

@ creditors have claims secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible, If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ca List Your Creditors Who Hold Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Officlal Form 106D), fill In the
information below,

Identify the creditor and the property that ls collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor's Surrender the property, No

name: Bank of America

() Retain the property and redeem it. Cl Yes
Description of
property
sacuring debt:

Cl Retain the property and enter into a
Single Family Residence Reaffirmation Agreement.

Cd Retain the property and [explain):

 

Creditor's ©
name: Select Portfolio Servicing &) Surrender the property. H) No

Q) Retain the property and redeem it. O yes
Description of
property
securing debt: Single Family Residence

() Retain the property and enter into a
Reaffirmation Agreement.

() Retain the property and [explain]:

 

Creditor's C) Surrender the property. QC No

name:
Q) Retain the property and redeem it. OC) Yes
Description of
ae CJ Retain the property and enter into a
securing debt: Reaffirmation Agreement.

©) Retain the property and [explain]:

 

oo: Q) Surrender the property. ONo

a CJ Retain the property and redeem It, Cl Yes
escription o

arene ty L) Retain the property and enter Into a

securing debt: Reaffirmation Agreement.

CJ Retain the property and [explain]:

 

Official Form 108 Statement of Intention for individuals Filing Under Chapter 7 page 1
Case 19-50486 Doci3 _ Filed 06/03/19 Entered 06/03/19 16:40:01 Page 37 of 70
Case 19-50486 Doci1 Filed 04/12/19 Entered 04/12/19 15:49:22 Page 50 of 64

Your name Stanley H. Thompson Case number (if known),
Fira Nine Mike fame Lost Mar

 

 

ee ist Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill In the information below. De not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases WII! the lease be assumed?
Lessors name: ONe
_ QQ Yes

Description of leased

property:

Lessor's name: OONo
Q) Yes

Description of leased

property:

Lessor’s name: OO Ne

Description of leased Q) Yes

property:

Lessor’s name: ONoe
) Yes

Description of leased

property:

Lessor's name: ONo
Ql Yes

Description of leased

property:

Lessor’s name: ONo
QO) Yes

Description of leased

property:

Lessor's name: OQ No
QO yes

Description of leased
property:

Sign Below

Under penalty of perjury, | declare that | have indicated my Intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

X jsistaniey H. Thompson fo 4- ton — x

Signature of Debtor 1 Signature of Debtor 2
Date 04/05/2019 Date
MM/ DD / YYYY MM/ DD? YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
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EXHIBIT E
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ORDER 431197

DOCKET NO: FSTCV176033200S SUPERIOR COURT
BANK OF AMERICA N.A. JUDICIAL DISTRICT OF STAMFORD
V. AT STAMFORD
THOMPSON, STANLEY H, A/K/A
STANLEY HUDSON THOMPSON Et Al 6/25/2018
ORDER
ORDER REGARDING:

06/12/2018 117.00 MOTION FOR JUDGMENT-STRICT FORECLOSURE
The foregoing, having been considered by the Court, is hereby:
ORDER:

Notice of Judgment of Foreclosure by Sale

Property Address: 162 Strawberry Hill Avenue, Norwalk CT 06851

The Committee is ordered to upload pictures of the property on the Judicial website and include a
picture of the property in the newspaper ad. The appraiser is ordered to do an interior appraisal of the

property.

Judgment of Foreclosure by Sale is hereby entered as follows:
Debt: $188,525.50

Attorney Fees: $4,750.00

Total: $193,275.50

Appraisal Fee: $300.00

Title Search Fee: $225.00

Fair Market Value: $390,000.00

The Sale Date is: Saturday, November 10, 2018

Terms of the Sale:

Deposit Amount: $39,000.00 Deposit to be paid by bank or certified check only.

Committee Appointed: KENNETH MARC GRUDER, 200 CONNECTICUT AVENUE, NORWALK,
CT 06854

Ordered in accordance with the Statewide Standing Orders(JD-CV-79) and Uniform Procedures for
Foreclosure by Sale Matters(JD-CV-81).

Independent Appraiser: Nana Smith, Complete Real Estate Answers INC., 22 Dora St, Unit D,
Stamford, CT 06902

Return of Appraisal by: Wednesday, October 31, 2018

Deposit not required if Plaintiff is the successful bidder. The Plaintiff may submit a bid via fax.

No fees or expenses prior to: Wednesday, September 26, 2018

Sign to be posted no earlier than : Thursday, October 11, 2018

Sign to be posted no later than : Sunday, October 21, 2018

Publication in Norwalk Hour on: 11/2/2018, 11/9/2018

Ad to be posted on Judicial Website.

Plaintiff's Atty: BENDETT & MCHUGH PC, 270 FARMINGTON AVENUE, SUITE 151,
FARMINGTON, CT 06032

Copies sent Monday, July 02, 2018 to:

BENDETT & MCHUGH PC; MARINOSCI LAW GROUP PC; STANLEY H THOMPSON A/K/A
STANLEY HUDSON THOMPSON;KENNETH MARC GRUDER(committee);Nana Smith(appraiser)

FSTCV176033200S 6/25/2018 Page 1 of 2
Case 19-50486 Doci13 _ Filed 06/03/19 Entered 06/03/19 16:40:01 Page 40 of 70

Judicial Notice (JDNO) was sent regarding this order.
431197

 

Judge: ROBERT LOUIS GENUARIO
Processed by: Amy Melashvili

FSTCV176033200S 6/25/2018 Page 2 of 2
Case 19-50486 Doci3_ Filed 06/03/19 Entered 06/03/19 16:40:01

Case Detail - FST-CV17-6033200-S

5/28/2019

      
 

 
    

  

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ut Judicial Branch

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BANK OF AMERICA N.A. v. THOMPSON, STANLEY H, A/K/A STANLEY
6033200-S HUDSON THOMPSON Et Al

ne Case Type: P00 _—File Date: 09/05/2017 __ Return Date: 09/19/2017
Case Detail History Scheduled Court Dates E-Services Login [Screen Section Help >
Pending Foreclosure Sales o receive a 1all when (here Is activity on this case, click here. &

By Attorunyit ian diats Nunber

By Property Addrass

Short Calendar Look-up
By Court Lacation

Information Updated as of: 05/28/2019

&y Attorney/Firnn Juris Nuniber

Motion to Seal or Close
Calondar Notices

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By Allorneyrum Juris Rumbei

Panding Foroclosurc Sales &

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Display vf Case information

Contact Us

 

Gormments

J

Party

P-01

D-01

D-02

0-01

Case Information
Case Type: P00 - Property - Foreclosure
Court Location: STAMFORD JD
Property Address: 162 Strawberry Hill Avenue, Norwalk, CT 06851
List Type: No List Type
Trial List Claim:

Last Action Date: system)

Disposition Information
Disposition Date:
Disposition:
udge or Magistrate:

Party & Appearance Information

BANK OF AMERICA N.A.
Attorney: & BENDETT & MCHUGH PC (102892) File Date: 09/05/2017
270 FARMINGTON AVENUE
SUITE 151
FARMINGTON, CT 06032

STANLEY H THOMPSON A/K/A STANLEY HUDSON THOMPSON
Self-Rep: 162 STRAWBERRY HILL AVENUE File Date: 10/02/2017
NORWALK, CT 06851

BANK OF AMERICA N.A. A/K/A BANK OF AMERICA NATIONAL
ASSOCIATION
Attorney: & MARINOSCi LAW GROUP PC (431033) File Date: 09/12/2017
275 WEST NATICK ROAD
SUITE 500
WARWICK, RI 02886

COMMITTEE
Attorney: @ KENNETH MARC GRUDER (308729) _ File Date: 07/26/2018
200 CONNECTICUT AVENUE
NORWALK, CT 068541907

Viewing Documents on Civil, Housing and Small Claims Cases:

No
Fee
Party

If there is an @ in front of the docket number at the top of this page, then the file is electronic
(paperless),

04/26/2019 (The "last action date" is the date the information was entered in the

Category

Plaintiff

Defendant

Defendant

Committee

» Documents, court orders and judiciat notices in electronic (paperless) civil, housing and small

claims cases with a return date on or after January 1, 2014 are available publicly over the

internet.* For more information on what you can view in all cases, view the Electronic Access to

Court Doctimeants Quick Card,

« For civil cases filed prior to 2014, court orders and judicial notices that are electronic are
available publicly over the internet. Orders can be viewed by selecting the link to the order from
the list below. Notices can be viewed by clicking the Notices tab above and selecting the link.*

civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTCV 1760332008

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§/28/2019

Case Detail - FST-CV17-6033200-S

e« Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at
any judicial district courthouse during normal business hours.”

¢ Pleadings or other documents that are not electronic (paperless) can be viewed only during
normal business hours at the Clerk's Office in the Judicial District where the case is located.”

e An Affidavit of Debt is not available publicly over the internet on small claims cases filed before

October 16, 2017."

*Any documents protected by law Or by court order that are Not open to the public cannot be viewed
by the public online And can only be viewed in person at the clerk's office where the file is located by
those authorized by law or court order to see them.

 

Motions / Pleadings / Documents / Case Status

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Entry fp: Filed .
No File Date By Description Arguable
09/05/2017 P summons &
09/05/2017 P COMPLAINT
09/12/2017 D pappearance &
Appearance
10/02/2017 APPEARANCE |
stanley thompson
10/04/2017 APPEAR ANCE
stanley thompson
07/26/2018 © APPEARANCE &
Appearance
100.30 09/05/2017 RETURN OF SERVICE [> No
101.00 09/11/2017 © FORECLOSURE MEDIATION - ELIGIBLE CASE (NO No
DOCUMENT)
102.00 09/11/2017 | P FORECLOSURE MEDIATION PLAINTIFF'S COMPLIANCE WITH No
SERVICE (NO DOCUMENT)
103.00 09/11/2017 © FORECLOSURE MEDIATION-COMPLIANCE WITH P.A.09-209 No
(NO DOCUMENT) SEE FORM# JD-CV-109
104.00 10/02/2017 OD FORECLOSURE MEDIATI EQUESTICERTIFIC -CV- No
1038 &
RESULT: Order 10/11/2017 BY THE CLERK
104.01 10/11/2017 C oRDER® No
RESULT: Order 10/11/2017 BY THE CLERK
105.00 10/04/2017 D FORECLOSURE MEDIATION REQUESTICERTIFICATE JD-CV- No
408 =
RESULT: Order 10/11/2017 BY THE CLERK
105.01 10/11/2017 C orRDER® No
RESULT: Order 10/11/2017 BY THE CLERK
106.00 11/20/2017 C FORECLOSURE MEDIATOR’S PREMEDIATIO PoRT | No
107.00 01/19/2018 C FORECLOSURE MEDIATOR'S REPORT No
108.00 04/19/2018 C FORECLOSURE MEDIATOR'S REPORT & No
109.00 05/03/2018  D FORECLOSURE MEDIATION - MOTION FOR MODIFICATION OF No
MEDIATION PERIODUD-Cv-96 |
RESULT: Denied 5/21/2018 HON DAVID TOBIN
109.01 05/21/2018 C orDERD No
RESULT: Denied 5/21/2018 HON DAVID TOBIN
110.00 05/17/2018  P FORECLOSURE MEDIATION - OBJECTION JD-cv-95 No
RESULT: Sustained 5/21/2018 HON DAVID TOBIN
110.01 05/21/2018 C oRDER® No
RESULT: Sustained 5/21/2018 HON DAVID TOBIN
111.00 05/17/2018 C FORECLOSURE MEDIATOR'S REPORT No

 

 

civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx? DocketNo=FSTCV176033200S

 

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Case 19-50486 Doci13 _ Filed 06/03/19 Entered 06/03/19 16:40:01 Page 43 of 70

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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112.00 05/21/2018 © FORECLOSURE MEDIATION TIME PERIOD EXPIRED No

113.00 06/01/2018 P MOTION FOR DEFAULT-FAILURE TO PLEAD | No
RESULT: Granted 6/12/2018 BY THE CLERK

113.01 06/12/2018 C orDER® No
RESULT: Granted 6/12/2018 BY THE CLERK

114.00 06/01/2018 P DEMAND FOR DISCLOSURE OF DEFENSE pB 13-19 No

115.00 06/01/2018 P AFFIDAVIT OF COMPLIANCE WITH EMAP No

116.00 06/12/2018 P MOTION FOR DEFAULT FOR FAILURE TO DISCLOSE No

DEFENSE |»

RESULT: Granted 6/25/2018 HON ROBERT GENUARIO

116.01 06/25/2018 C orpDER® No
RESULT: Granted 6/25/2018 HON ROBERT GENUARIO
Last Updated: Entry Number - 06/25/2018

117.00 06/12/2018 P MOTION FOR JUODGMENT-STRICT FORECL osure Yes
RESULT: Order 6/25/2018 HON ROBERT GENUARIO

117.01 06/25/2018 C orpDER® No
RESULT: Order 6/25/2018 HON ROBERT GENUARIO

118.00 06/01/2018 C FOREGCL £ MEDIATOR'S FINAL REP : TION No

PERIOD TERMINATED |

119.00 06/19/2018 P PRELIMINARY STATEMENT OF DEBT No

120.00 06/21/2018 P FORECLOSURE WORKSHEET JD-cv-77 B No

121.00 06/21/2018 P AFFIDAVIT OF DEBT & No

122.00 06/21/2018 P AFFIDAVIT RE: ATTORNEY/COUNSEL FEES No

123.00 06/21/2018 P OATH OF APPRAISERS Ga No
and appraisal

124.00 06/21/2018 D opyection No
RESULT: Sustained 6/25/2018 HON ROBERT GENUARIO

124.01 06/25/2018 CC oRpER® No
RESULT: Sustained 6/25/2018 HON ROBERT GENUARIO

125.00 06/25/2018 © JUDGMENT OF FORECLOSURE BY SALE No

126.00 07/05/2018 P woTIcE TO.ALL PARTIES [5 No

127.00 10/31/2018 © OATH OF APPRAISERS No

128.00 10/31/2018 O a~ppraisac & No

129.00 10/21/2018 | D MOTION FOR WAIVER No
RESULT: Granted 10/31/2018 HON KENNETH POVODATOR

130.00 10/31/2018 D MOTION TO OPEN JUDGMENT ie No
RESULT: Granted 11/5/2018 HON KEVIN TIERNEY

130.01 11/05/2018  C orDER® No
RESULT: Granted 11/5/2018 HON KEVIN TIERNEY

131.00 11/13/2018 P NOTICE TO ALL PARTIES No

132.00 11/28/2018 O MOTION TO AWARD INTERIM COMMITTEE FEE/EXPENSES B No
RESULT: Granted 12/10/2018 HON ROBERT GENUARIO

132.01 12/10/2018 C oRDER® No
RESULT: Granted 12/10/2018 HON ROBERT GENUARIO

133.00 04/26/2019 =P AFFIDAVIT THAT PARTY IS IN BANKRUPTCY [7 No
AUTOMATIC STAY IN EFFECT

Scheduled Court Dates as of 05/24/2019
FST-CV17-6033200-S - BANK OF AMERICA N.A. v. THOMPSON, STANLEY H, A/K/A STANLEY
HUDSON THOMPSON Et Al
# Date Time Event Description Status
No Events Scheduled

 

civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTCV176033200S

 

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5/28/2019

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Case Detail - FST-CV17-6033200-S

 

Judicial ADR events may be heard in a court that is different from the court where the case is
filed. To check location information about an ADR event, select the Notices tab on the top of the
case detail page.

Matters that appear on the Short Calendar and Family Support Magistrate Calendar are shown as
scheduled court events on this page. The date displayed on this page is the date of the calendar.

All matters on a family support magistrate calendar are presumed ready to go forward.

The status of a Short Calendar matter is not displayed because it is determined by markings made
by the parties as required by the calendar notices and the civil’ or familyé standing orders.
Markings made electronically can be viewed by those who have electronic access through the
Markings History link on the Civil/Family Menu in E-Services. Markings made by telephone can
only be obtained through the clerk's office. If more than one motion is on a single short calendar,
the calendar will be listed once on this page. You can see more information on matters appearing
on Short Calendars and Family Support Magistrate Calendars by going to the Civil/Family Case
Look-Up page and Shar Calendars By Juris Number? or By Court Location.

Periodic changes to terminology that do not affect the status of the case may be made.
This list does not constitute or replace official notice of scheduled court events.

Disclaimer: For civil and family cases statewide, case information can be seen on this website for
a period of time, from one year to a maximum period of ten years, after the disposition date. If the
Connecticut Practice Book Sections 7-10 and 7-11 give a shorter period of time, the case
information will be displayed for the shorter period. Under the Federal Violence Against Women Act
of 2005, cases for relief from physical abuse, foreign protective orders, and motions that would be
likely to publicly reveal the identity or location of a protected party may not be displayed and may
be available only at the courts.

Attorneys | Case fook-up | Courts | Directories | EducationalResaurons |. E-Services | FAQ's | Juror Information | News & Upcites |
Opinions | Oppartunities | Self-Help | Home

 

 

 

 

 

 

 

 

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Page Created on 5/28/2019 at 6:57:03 PM

civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx? DocketNo=FSTCV176033200S 4/4
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EXHIBIT F
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ase | ' 04/12/19 15:49:22 Page 8 of 64

Fill in this information to identify your case and this filing:

Debtor 1 Stanley . Thornpsar

Firs} Name Masle hare Cyt ume

Debtor 2
(Spouse. if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Connecticut

Case number

 

QC) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible, If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form, On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

[EBSA vescrive Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1 Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C1) No. Go to Part 2.
&] yes. Where is the property?
What is the property? Check all that apply. Do not deduct secured claims or exemptions Pul

w Single-famlly home the amount of any secured claims on Schedule D:
44. 162 Strawberry Hill Avenue Creditors Who Have Claims Secured by Property.

—  () Duplex or multi-unit buildin
Street address, if available, or other description P 9

 

 

 

 

 

 

 

C) Condominium or cooperative Current value of the Current value of the
Q) Manufactured or mobile home entire property? portion you own?
— Q) Land $390,000.00 $390,000.00
C) investment property
Norwalk cT_ 06651 Qf Timeshare Describe the nature of your ownership
City State ZIP Code a 6 interest (such as fee simple, tenancy by
her the entireties, or a life estate), if known.
Who has an interest in the property? Check one. , .
Fee Simple Ownership
Fairfield @) Debtor 1 only
County, 7 Q Debtor 2 only

QC) Debtor 1 and Debtor 2 only QO Check if this is community property
L) Atleast one of the debtors and another isonet)
Other information you wish to add about this item, such as local

property identification number:

 

\f you own or have more than one, list here:

What is the property? Check all that apply. Bi ynoldedseuaecoced (claims orlexemphousSeut

Cl Single-family horne the amount of any secured claims on Schedule D:
1.2, Q Duplex or multi-unit building Creditors Who Have Claims Secured by Property

Street address, If available, or other description

 

 

 

 

 

 

C1 Condominium or cooperative Current value of the Current value of the
(2 Manufactured or mobile home entire property? portion you own?
Q) Land $ S
C1 Investment property
_ On h Describe the nature of your ownership
City State ZIP Code g meshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), If known.
Who has an interest In the property? Check one
Q) Debtor 1 only
County CJ Debtor 2 only
C) Debtor 1 and Debtor 2 only O Check if this is community property
C) At least one of the debtors and another (see instructions)

Other information you wish to add about this Item, such as Jocal
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1
Case 19-50486 Doci13 _ Filed 06/03/19 Entered 06/03/19 16:40:01 Page 47 of 70

EXHIBIT G
 

Bankof America a

Customer Service Department

PO Box 31785
Tampa, FL 33631-3785

LJ =Redacted Information
Date: 05/15/2019

Loan No
STANLEY H THOMPSON Property Address:
162 STRAWBERRY HILL AVE
NORWALK, CT 06851 162 STRAWBERRY HILL AVENUE

NORWALK, CT 06851

We've enclosed your home loan history statement with
transaction details.

As you requested, enclosed is your statement that provides the following:
* Payments we received from you
e Servicing expenses we paid to third parties
® Tax and insurance payments we paid on your behalf
e Late charges assessed and paid

Questions?

We appreciate the opportunity to serve your home loan needs. For general account information,
you can visit us online at bankofamerica.com.
Case 19-50486 Doc 13

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Home Loans

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Page 3
Loan Number: Property Address:
Statement Period: 05/2004 - 05/2019 162 STRAWBERRY HILL AVENUE
Date Prepared: 05/15/2019 NORWALK, CT 06851
Transaction Description Total PMT/MO Principal Interest Escrow Optional Buydown Late Charges Unapplied
Date Payment Balance Balance Total Total
Beginning Balance 225,250.00 2,870.32 00
06/08/2004 REGULAR PAYMENT 1,792.89 06/2004 235.18 1,079.32 478.39 00 00 00 .00
225,01 4.82 3,348.71 .00 .00
07/06/2004 REGULAR PAYMENT 1,782.89 07/2004 236.30 1,078 20 468.39 00 00 00 .00
224,778.52 3,817.10 00 .00
07/22/2004 CITY TAX PMT -2,583.29 07/2004 00 00 -2,583.29 00 00 00 .00
224,778.52 1,233.81 00 .00
08/05/2004 REGULAR PAYMENT 1,792.89 08/2004 237.44 1,077 06 478.39 00 00 00 00
224,541.08 1,712.20 .00 .00
0903/2004 REGULAR PAYMENT 1,792.89 09/2004 238.57 1,075.93 478.39 00 00 00 00
224,302.51 2,190.59 00 00
09/23/2004 HAZARD INS PMT “1,016.00 09/2004 00 00 -1,016.00 00 00 00 00
224,302.51 1,174.59 .00 .00
40/04/2004 REGULAR PAYMENT 1,792.89 10/2004 239.72 1,074.78 476.39 00 00 00 00
224,062.79 1,652.06 00 .00
11/01/2004 REGULAR PAYMENT 1,792.89 11/2004 240.87 1,073.63 478.39 00 00 00 00
223,821.92 2,131.37 .00 .00
12/07/2004 REGULAR PAYMENT 1,867.04 12/2004 242.02 1,072.48 552.54 00 00 00 00
223,570.90 2,689.91 .00 .00
12/31/2004 INIERES1 ON ESC 2579 12/2004 00 00 26.79 00 00 00 .00
223,579.80 2,709.70 00 00
01/06/2005 REGULAR PAYMENT 1,86704 01/2005 243.18 1,071.32 552.54 00 00 00 .00
223,336.72 3,262.24 00 .00
01/06/2005 CITY TAX PMT -2,583.29 01/2005 00 00 -2,583.29 00 00 00 .00
223,336.72 678.95 00 00
02/03/2005 REGULAR PAYMENT 1,867.04 02/2005 244,34 1,070.16 552.54 00 00 00 00
223,092.38 1,231.49 00 .00
03/07/2005 REGULAR PAYMENT 1,867 04 03/2005 245 52 1,068 98 552 54 00 00 00 00
222,846.86 1,764.03 00 00
04/04/2005 REGULAR PAYMENT 1,867.04 04/2005 246.69 1,067 81 652.54 00 00 00 00
222,600.17 2,336.57 00 .00
05/06/2005 REGULAR PAYMENT 1,867.04 05/2005 247.87 1,066 63 552.54 00 00 00 00
222,352.30 2,889.14 .00 00
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Page 4

 

Transaction
Date

“06/06/2005
07/08/2005
07/12/2005
08/08/2005
09/06/2005
09/21/2005
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Description

REGULAR PAYMENT

REGULAR PAYMENT

CITY TAX PMT

REGULAR PAYMENT

REGULAR PAYMENT

HAZARD INS PMT

REGULAR PAYMENT

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REGULAR PAYMENT

Total
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PMT/MO

Principal
Balance

Interest

 

1,867.04

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222,103.24

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220,067.28

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210,807.28

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219,546.02

262.51
219,283.61

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219,019.74

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218,754.71

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Escrow
Balance

 

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2,389.13

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562 54
2,357.21

575.49
2,932.70

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Home Loans

 

 

 

Page 5
Transaction a: Total Principal Escrow ‘ Late Charges Unapplied
Description PMT/M' Inter ional B
Date ESeilplle Payment 9 Balance ire! Balance Optiona uydown Total Total
07/14/2006 CITY TAX PMI -2,793.40 07/2006 .00 00 -2,793 40 00 00 .00 .00
218,754.71 1,488.97 .00 .00
08/04/2006 REGULAR PAYMENT 1,689.99 08/2006 266.30 1,048.20 575.49 .00 .00 00 00
218,488.41 2,064.46 .00 .00
08/31/2006 REGULAR PAYMENT 1,889.99 09/2006 267.58 1,046.92 575.49 00 .00 00 .00
218,220.83 2,690.95 00 .00
09/26/2006 HAZARD INS PMT “1,246.00 09/2006 00 .00 “1,246.00 00 .00 .00 00
218,220.83 1,393.95 .00 00
10/05/2006 REGULAR PAYMENT 1,889.99 10/2006 263.86 1,045.64 575.49 .00 ,00 .00 00
217,051.97 1,969.44 00 .00
11/07/2006 REGULAR PAYMENT 1,889.99 11/2006 270.15 1,044.35 575.49 .00 .00 00 .00
217,681.92 2,544.03 .00 .00
12/05/2006 REGULAR PAYMENT 190423 12/2006 271.44 1,043.06 589.73 00 .00 00 00
217,410.38 3,134.66 .00 00
12/29/2006 INTEREST ON ESC 34.98 12/2006 00 00 34.98 00 00 .00 .00
217,410.38 3,169.64 .00 .00
01/05/2007 REGULAR PAYMENT 1,904.23 01/2007 272.74 1,041.76 589.73 .00 00 00 00
217,197.64 3,759.37 .00 -00
01/22/2007 CITY TAX PMT “2,793.40 01/2007 00 00 -2,793.40 .00 00 .00 .00
217,137.64 965.97 .00 .00
02/06/2007 REGULAR PAYMENT 1,904.23 02/2007 274.05 1,040.45 589.73 .00 .00 .00 00
216,863.59 1,555.70 .00 .00
03/06/2007 REGULAR PAYMENT 1,904.23 03/2007 275.36 1,039.14 589,73 00 .00 00 00
216,568.23 2,145.43 -00 .00
04/09/2007 REGULAR PAYMENT 1,90423 04/2007 276.68 1,037.82 589.73 00 00 .00 .00
216,311.55 2,735.16 00 00
05/07/2007 REGULAR PAYMENT 1,904.23 05/2007 278.01 1,036.49 589.73 .00 .00 .00 00
216,033.54 3,324.80 00 .00
06/07/2007 REGULAR PAYMENT 1,90423 06/2007 279.34 1,035.16 589.73 .00 00 00 00
215,754.20 3,914.62 .00 00
07/06/2007 REGULAR PAYMENT 1,904.23 07/2007 280.68 1,033.82 589.73 00 .00 00 .00
215,473.52 4,504.35 00 00
07/25/2007 CILY TAX PMI -2,88730 07/2007 00 00 -2,887.30 .00 00 00 00
215,473.52 1,617.05 00 00
08/06/2007 REGULAR PAYMENT 1,904.23 08/2007 282.02 1,032 48 589.73 .00 00 .00 00

215,181.50 2,206.76 -00 -00
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Home Loans
Page 6
Transaction = Total Principal Escrow : Late Charges Unapplied
Description PMT/MO Intere: OQ |
Date eschiaue Payment M Balance Ba Balance a Buydown Total Total
08/31/2007 REGULAR PAYMENT : 1,904.23 09/2007 293,37 1,031.13 58973 00 .00 00 ~~ 00
214,908.13 2,796.51 00 .00
09/26/2007 HAZARD INS PMT “1,628.00 09/2007 00 00 -1,628.00 00 .00 00 00
214,908.13 1,168.51 00 00
40/06/2007 REGULAR PAYMENT 1,904.23 10/2007 284.73 1,029.77 589.73 .00 00 .00 .00
214,623.40 1,758.24 .00 00
11/05/2007 REGULAR PAYMENT 1,904.23 11/2007 286 10 1,028.40 589.73 00 .00 00 00
214,337.30 2,347.87 .00 .00
12/07/2007 REGULAR PAYMENT 1,976.91 12/2007 287.47 1,027.03 661.41 .00 .00 .00 .00
214,049.83 3,000.38 .00 .00
42/31/2007 INTEREST ON ESC 3894 12/2007 00 00 39.94 00 .00 .00 .00
214,040.83 3,048.32 .00 .00
01/02/2008 HEGULAR PAYMENT 1,975.91 01/2008 288.84 1,025.66 661.41 00 .00 00 .00
213,760.99 3,709.73 .00 .00
01/28/2008 CITY TAX PMT -2,887.30 01/2008 00 00 -2,887.30 .00 .00 .00 .00
213,760.99 822.43 .00 00
02/05/2008 REGULAR PAYMENT 1,975.91 02/2008 290.23 1,024.27 661.41 00 00 .00 00
213,470.76 1,483.84 .00 00
03/02/2008 REGULAR PAYMENT 1,97591 03/2008 291.62 1,022.88 661.41 00 .00 .00 00
213,179.14 2,145.25 .00 .00
04/04/2008 REGULAR PAYMENT 1,97591 04/2008 293.02 1,021.48 661.41 00 .00 .00 .00
212,686.12 2,806.66 .00 .00
05/08/2008 REGULAR PAYMENT 1,975.91 05/2008 294.42 1,020.08 661.41 .00 00 00 00
212,591.70 3,468.07 00 .00
06/04/2008 REGULAR PAYMENI 1.97891 06/2008 295.83 1,018.67 661.41 .00 00 00 00
212,295.87 4,129.48 .00 .00
07/07/2008 REGULAR PAYMENT 1,975.91 07/2008 297.25 1,017.25 661.41 .00 .00 .00 00
211,098.62 4,780.89 .00 00
07/26/2008 CITY TAX PMT -2,99761 07/2008 00 .00 -2,997.61 .00 00 .00 00
211,098.62 1,703.28 .00 00
08/05/2008 REGULAR PAYMENT 1,975.91 08/2008 298.67 1,015.83 661.41 00 00 .00 00
211,699.95 2,454.68 00 00
08/05/2008 MISC, POSTING 200.00 98/2008 200.00 .00 .00 .00 .00 .00 00
211,499.95 2,454.69 .00 00
09/02/2008 REGULAR PAYMENT 1,975.91 09/2008 300.94 1,013.56 661.41 .00 .00 00 .00
211,199.01 3,116.10 .00 .00
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Home Loans

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Page 7
Transaclion =i Total Principal Escrow Late Charges Unapplied
ripti T/M Inter
Date Besciipien Payment BLS) Balance Ec Balance ewcow T
09/02/2008 +» MISC. POSTING 904.09 09/2008 “204.09 .00 00 00 00 00 00
210,904.92 3,116.10 .00 00
09/17/2008 HAZARD INS PMT 1,618.00 09/2008 00 00 -1,618.00 00 00 .00 .00
210,994.02 1,498.10 .00 .00
10/06/2008 REGULAR PAYMENT 1,975.91 10/2008 303.45 4,014.05 661.41 00 .00 .00 00
210,691.47 2,159.51 .00 00
10/06/2008 MISC. POSTING 24.09 10/2008 24.09 00 00 00 .00 .00 00
210,667.38 2,159.51 .00 .00
11/03/2008 REGULAR PAYMENT 1,975.91 11/2008 305.03 1,009.47 661,41 00 .00 .00 .00
210,362.35 2,820.92 00 .00
11/03/2008 MISC. POSTING 24.09 11/2008 24.09 .00 00 00 00 00 .00
210,338.26 2,820.92 .00 .00
12/04/2008 REGULAR PAYMENT 1,963.24 12/2008 306.62 1,007.88 648.74 .00 .00 00 00
210,031.64 3,469.66 00 .00
12/04/2008 MISC, POSTING 136.76 12/2008 136.76 00 .00 00 00 .00 .00
209,894.88 3,469.66 .00 00
12/31/2008 INTEREST ON ESC 4263 12/2008 .00 .00 42.63 00 00 .00 .00
209,894.88 9,512.29 .00 .00
01/06/2009 REGULAR PAYMENT 1,963.24 01/2009 308.69 1,005.81 648.74 .00 .00 .00 .00
209,586.19 4,161.03 .00 .00
01/06/2009 MISC. POSTING 236.76 01/2009 236.76 00 .00 .00 .00 00 00
209,349.43 4,161.03 .00 00
01/21/2009 CITY TAX PMT -2,997.61 01/2009 .00 00 -2,997.61 .00 .00 00 00
209,349.43 1,163.42 .00 00
02/06/2009 REGULAR PAYMENT 1,963.24 02/2009 311.18 1,003.32 648.74 .00 00 00 00
209,038.25 1,812.16 .00 .00
02/06/2009 MISC, POSTING 86.76 02/2009 86.76 00 .00 .00 .00 00 .00
208,951.49 1,812.16 .00 .00
03/08/2009 REGULAR PAYMENT 1,963.24 03/2009 313.22 1,001.28 648.74 .00 00 00 .00
208,638.27 2,460.90 .00 .00
03/05/2009 MISC. POSTING 3676 03/2009 36.76 00 00 00 00 .00 .00
208,601.51 2,460.90 .00 .00
04/06/2009 REGULAR PAYMENT 1.96324 04/2009 314.92 909.58 648,74 00 00 .00 .00
208,286.59 3,109.64 .00 .00
04/06/2009 MISG. POSTING 36.76 04/2009 36.76 00 .00 .00 00 00 .00
200,249.83 3,108.64 .00 .00

 

 
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Transaction
Date

05/06/2008

05/06/2009

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06/04/2009

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07/06/2009

07/21/2009

08/08/2009

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09/02/2009

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11/09/2008

11/09/2009

Description
REGULAR PAYMENT
MISC. POSTING
REGULAR PAYMENT
MISG. POSTING
REGULAR PAYMENT
MISC, POSTING
CITY TAX PMT
REGULAR PAYMENT
MISC. POSTING
REGULAR PAYMENT
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HAZARD INS PMT
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MISC, POSTING
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REGULAR PAYMENT
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MISC. POSTING

Total
Payment

1,963.24

36.76

1,963.24

36.76

1,963,24

226.76

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1,963.24

36.76

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36,76

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Principal
Balance

316 61
207,933,22

96 76
207,896.46

318 30
207,578.16

36 76
207,541.40

320,02
207,221.38

226.76
206,994.62

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206,994.62

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206,672.15

36,76
206,635.39

924.35
206,311.04

36.76
206,274.28

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206,274.28

326.10
205,948.18

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205,911.42

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205,911.42

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Interest

997.89

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Escrow
Balance

 

Page 8
Late Charges Unapplied
Buydown
ae Total
648.74 00 00 00 00
3,758,38 ‘00 00
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3,758.38 .00 ‘00
648.74 00 .00 00 00
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668.30 00 00 00 00
2,995.92 ‘00 117,20
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2,995.32 ‘00 .00
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Home Loans

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Transaction
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Description

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MISC. POSTING

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07/2010

Principal
Balance

329.88
205,136.52

117.20
205,019.32

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205,019.32

332.03
204,687.29

117.20
204,570.09

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204,570.09

334.17
204,235.92

117.20
204,118.72

336.40
203,782.32

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203,665.12

338.56
203,326.56

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203,209.36

340.75
202,868.61

117.20
202,751.41

342,92
202,408.48

117.20
202,291.29

345.17
201,946.12

117.20
201 ,828.92

Interest

984.62

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Late Charges Unapplied
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Page 10
Transaction as Total Principal Escrow : Late Charges Unapplied
Description PMT/M Interes' ional B WI
Date eSciipllo Payment Oo Balance eres! Balance Optiona uydown Total Total
07/2/2010 CITY TAX PM] “322991 07/2010 00 43,220.81 00 00 00 00
201,828.92 1,985.87 .00 00
08/02/2010 REGULAR PAYMENT 1,982.80 08/2010 347.38 967.12 668.30 00 00 00 .00
201,481.54 2,654.17 00 .00
09/01/2010 REGULAR PAYMENT 1,982.80 09/2010 349.07 965.43 668.30 .00 00 .00 00
201,132.47 3,322.47 .00 .00
09/01/2010 MISG. POSTING 17.20 09/2010 17 20 .00 .00 00 00 00 00
201,115.27 9,322.47 00 .00
09/29/2010 HAZARD INS PMT -1,624.00 09/2010 .00 00 -1,624.00 00 .00 00 00
201,115.27 1,698.47 .00 .00
10/01/2010 REGULAR PAYMENT 4,982:80 10/2010 350.82 963.68 668.30 Rel) 00 00 .00
200,764.45 2,366.77 .00 .00
10/01/2010 MISC. POSTING 67.20 10/2010 67.20 .00 00 00 00 .00 .00
200,697.25 2,366.77 00 .00
11/01/2010 REGULAR PAYMENT 200349 11/2010 352.83 961.67 688.99 00 00 00 00
200,344.42 3,055.76 .00 00
11/01/2010 MISC. POSTING 48.00 11/2010 48.00 00 00 00 00 .00 00
200,296.42 3,055.76 00 00
12/01/2010 REGULAR PAYMENT 200349 12/2010 354.75 959.75 688.99 00 00 .00 .00
199,041.67 3,744.75 .00 00
12/31/2010 INTEREST ON ESC 47,12 12/2010 00 00 47.12 00 00 .00 00
199,941.67 3,781.87 .00 .00
01/09/2011 REGULAR PAYMENT 200349 01/2011 356.45 958.05 688.99 00 00 00 00
199,585.22 4,480.86 00 .00
01/19/2011 CITY TAX PMT -3,22991 01/2011 00 00 -3,229,91 00 00 00 00
199,585.22 1,250.05 00 .00
02/01/2011 REGULAR PAYMENT 2,003.49 02/2011 358.15 956.35 688.99 .00 00 00 00
199,227.07 1,939.94 .00 .00
03/01/2011 REGULAR PAYMENT 2,003.49 03/2011 359.87 954.63 688.99 .00 00 00 00
198,867.20 2,628.93 .00 .00
03/01/2011 MISC, POSTING 151 03/2011 151 00 .00 .00 00 .00 00
198,865.60 2,628.03 .00 00
04/04/2011 REGULAR PAYMENT 2,003.49 04/2011 361.60 952.90 698.99 .00 00 00 00
198,504.00 3,317.92 00 .00
04/04/2011 MISG. POSTING 1.51 04/2014 1.51 00 .00 00 00 00 00

199,502.58 3,317.92 00 -00
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Page 11
Transaction AF Total Principal Escrow ; Late Charges Unapplied
Description Pi Interes i
Date escriptio Payment MT/MO Balance aS Balance Optional Budo
05/09/2011 REGULAR PAYMENT 2,003.49 08/2011 363.34 951.16 688.99 00 00 00 “00
198,139.24 4,006.91 .00 .00
06/06/2011 REGULAR PAYMENT 2,003.49 06/2014 365.08 949.42 688.99 00 00 .00 .00
197,774.16 4,695.90 00 .00
06/06/2011 MISC. POSTING 651 06/2011 6.54 00 .00 00 00 .00 00
197,767.65 4,695.90 .00 .00
07/08/2011 REGULAR PAYMENT 2.00349 07/2014 366.86 947.64 688.99 00 00 .00 00
197,400.79 5,384.89 .00 00
07/12/2011 CITY TAX PMT “3,275.15 07/2011 .00 00 -3,275.15 00 00 .00 .00
197,400.79 2,109.74 .00 .00
08/04/2011 REGULAR PAYMENT 2,003.49 oev2011 368.62 045.88 688.99 00 00 00 00
197,032.17 2,798.73 .00 00
09/01/2011 REGULAR PAYMENT 2,003.49 09/2011 370.39 944.14 688.99 00 00 00 00
196,661.76 3,487.72 .00 00
09/01/2014 MISG. POSTING 651 09/2011 6.51 00 00 00 00 00 00
196,655.27 3,487.72 .00 .00
09/19/2011 HAZARD INS PM) “1,680.00 09/2011 00 00 +1,680.00 00 00 .00 00
196,655.27 1,807.72 .00 00
10/04/2011 REGULAR PAYMENT 2,003.49 10/2011 372.19 942.34 688,99 00 00 .00 .00
196,283.08 2,496.71 .00 .00
10/0/2011 MISC. POSTING 651 10/2014 651 .00 00 00 00 .00 00
196,276.57 2,496.71 00 00
11/16/2011 REGULAR PAYMENT 1,998.67 11/2011 374.01 940.49 684.17 00 00 00 00
195,902.56 3,180.88 .00 00
11Me2011 MISC. POSTING 12,00 11/2011 12.00 00 00 00 00 .00 .00
195,890.56 3,180.88 00 00
12/02/2011 REGULAR PAYMENT 4,998.67 12/2011 375.83 938.67 684.17 00 00 .00 00
195,514.73 3,865.05 .00 .00
12/30/2011 INTEREST ON ESC 45.68 12/2011 .00 00 45.68 00 00 .00 00
195,514.73 3,910.73 00 .00
0104/2012 CITY TAX PMT 3,275.15 12/2011 .00 00 -3,275.15 00 00 00 00
195,514.73 635.58 .00 00
01/17/2012 REGULAR PAYMENT 1,99867 01/2012 377.66 936.84 684.17 00 00 00 .00
195,137.07 1,319.75 .00 .00
02/16/2012 REGULAR PAYMENT 1,998.67 02/2012 379.47 935.03 684.17 00 00 00 .00
184,757.60 2,003.92 00 .00
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Page 12
Transaction ras Total Principal Escrow : Late Charges Unapplied
Description PMT/MO Interes' ional B 9
Date eseinle Payment Balance EIESy Balance Optiona uysawen Total Total
03/15/2012 REGULARPAYMEN| —=«1,99867 03/2012 381.29 933.21 684.17 00 00 00 00
194,376.31 2,688.08 .00 00
04/16/2012 REGULAR PAYMENT 1,998.67 04/2012 383.11 931.39 684.17 00 .00 00 00
183,993.20 3,372.26 00 .00
05/15/2012 REGULAR PAYMENT 1,998.67 05/2012 384.95, 929.55 684.17 .00 .00 .00 .00
193,608.25 4,056.43 .00 .00
06/27/2012 REGULAR PAYMENT 2,064.40 06/2012 386.79 927.71 684.17 00 00 65.73 00
103,221.46 4,740.60 .00 .00
07/02/2012 CITY TAX PMT -3,36797 06/2012 .00 .00 -3,367.97 .00 .00 00 00
199,221.46 1,372.63 .00 .00
07/27/2012 REGULAR PAYMENT 2,064.40 07/2012 388.65 925.85 684.17 .00 00 65.73 .00
192,832.61 2,056.80 .00 .00
08/09/2012 REGULAR PAYMENT] 1,998.67 08/2012 390.51 923.99 684.17 00 00 00 00
192,442.30 2,740.97 .00 .00
09/17/2012 HAZARD INS PMT 1,851.00 08/2012 .00 00 -1,851.00 00 00 00 00
192,442.30 689.97 .00 .00
09/27/2012 REGULAR PAYMENT 206440 09/2012 392,38 922.12 684.17 .00 .00 65.73 00
192,049.92 4,574.14 .00 .00
10/16/2012 REGULAR PAYMENT 1,99867 10/2012 394.26 920.24 684,17 .00 00 00 .00
191,655.66 2,258.31 00 00
1114/2012 REGULAR PAYMENT 2,062.44 11/2012 396.15 918.35 747.94 00 00 00 00
191,258.51 3,006.25 .00 00
12/19/2012 REGULAR PAYMENT 2,062.44 12/2012 398.05 916.45 747.94 .00 .00 .00 00
190,861.46 9,754.19 .00 .00
12/19/2012 MISC. POSING 2500 12/2012 25.00 00 .00 .00 00 .00 00
190,836.46 3,754.19 .00 .00
12/31/2012 INTEREST ON ESG 3798 12/2012 .00 .00 37.96 .00 .00 00 .00
190,836.46 3,792.17 00 .00
01/03/2013 CITY TAX PMT -3,367.97 12/2012 00 .00 -3,367.97 00 00 00 00
190,835.46 424.20 .00 .00
01/16/2013 REGULAR PAYMENT 2.06244 01/2013 400.00 914.50 747.94 .00 00 .00 00
190,436.46 4,172.14 .00 .00
02/15/2013 REGULAR PAYMENT 2,06244 02/2013 401.99 912.51 747.94 .00 00 00 00
190,034.47 1,920.08 .00 .00
03/18/2013 Assessed Late Chg 6572 03/2013 00 .00 00 00 00 00 00
190,034.47 1,920.08 65.72 .00

 
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Home Loans
Page 13
Transaction rere Total Principal Escrow Late Charges Unapplied
Description PMT/M Intere:
Date esti Payment ue) Balance lefes! Balance Buydown Total Total
0928/2013 REGULAR PAYMENT 2,062.44 03/2013 403 92 91058 = 747.94 “00 00 , 00 00
169,630.55 2,668.02 65,72 .00
03/28/2013 MISG. POSTING 65.72 03/2013 .00 00 00 00 .00 65.72 .00
489,630.55 2,668.02 00 .00
04/16/2013 Assessed Late Chg 65,72 04/2013 00 00 00 00 00 00 00
189,630.55 2,668.02 85.72 .00
05/07/2013 REGULAR PAYMENT 212816 04/2013 405.85 908.65 747.94 .00 00 00 65.72
189,224.70 9,415.96 “65.72 65.72
05/16/2013 MISC. POSTING 65.72 04/2013 00 .00 .00 .00 .00 00 65.72
189,224.70 3,415.06 65.72 .00
05/16/2013 REGULAR PAYMENT 2,062.44 05/2013 407.80 908.70 747.94 00 .00 00 .00
188,816.90 4,163.00 +65.72 .00
05/16/2013 MISC. POSTING 65.72 08/2013 00 00 .00 .00 00 65.72 00
168,816.90 4,163.90 .00 00
06/17/2013 REGULAR PAYMENT 2,062.44 06/2013 409.75 904.75 747.94 09 .00 00 00
188,407.15 4,011.84 .00 .00
07/18/2013 GITY TAX PMT -3,490.18 06/2013 00 00 -3,490.18 00 00 00 00
188,407.15 1,421.66 .00 .00
07/16/2013 REGULAR PAYMENT 2,062.44 07/2013 411.72 902.78 747.94 00 00 .00 00
187,895.43 2,169.60 .00 .00
08/09/2013 REGULAR PAYMENT 2,062.44 08/2013 413.69 900.81 747.94 .00 00 .00 00
167,561.74 2,917.54 .00 .00
09/16/2013 REGULAR PAYMENT 2,062.44 09/2013 415.67 898.83 747.94 00 00 00 .00
187,166.07 93,665.48 .00 .00
09/16/2013 HAZARD INS PMT -2,026.00 09/2013 00 00 -2,025.00 .00 00 .00 00
187,166.07 1,640.48 .00 00
10/16/2013 Assessed Late Chg 65.72 10/2013 00 00 .00 00 00 00 00
167,166.07 1,640.48 65,72 .00
40/31/2013 REGULAR PAYMENT 2,062.44 10/2013 417.66 896.84 747.94 00 00 00 00
186,748.41 2,388.42 “65.72 00
11/15/2013 REGULAR PAYMENT 2.09373 11/2013 419 66 894.84 779.23 .00 00 00 00
196,328.75 3,167.65 “65.72 00
41/15/2013 MISC, POSTING 6572 11/2013 .00 00 00 .00 00 65.72 00
186,328.75 3,167.65 .00 .00
12/16/2013 Assessed Late Chg 65.72 12/2013 00 00 .00 00 00 00 .00
186,328.75 3,167.65 “65.72 00
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Transaction
Date

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12/27/2013
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01/06/2014
01/16/2014
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02/28/2014
o2/2a/2014
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05/15/2014
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Description
REGULAR PAYMENT
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Total
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182,688.23

PMT/ Inter
MT/MO Balance nterest
2,093.73 12/2013 421 67 902.83
185,907.08
65.72 12/2013 00 00
185,907.08
2.90 12/2013 .00 00
185,807.08
-3,490.18 12/2013 00 00
185,907.08
65.72 01/2014 .00 00
185,907.08
2,159.45 01/2014 423.70 890.80
185,483.38
65.72 02/2014 00 00
185,483.38
65.72 01/2014 .00 00
185,483.38
2.09373 02/2014 425.73 888.77
185,057.65
131.44 02/2014 .00 00
185,057.65
65.72 09/2014 .00 .00
185,057.65
2,159.45 03/2014 427.77 886.73
184,629.88
65,72 03/2014 00 00
184,629.88
2,093.73 04/2014 429.82 884.68
184,200.08
65.72 04/2014 00 .00
184,200.06
2,093.73 05/2014 431.87 982.63
193,768.19
2.09373 06/2014 433.94 880 56
183,334.25
2,093.73 07/2014 436.02 878.48

Escrow
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Late Charges Unapplied

Total Total

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Page 15
Transaction a. Total Principal Escrow . Late Charges Unapplied
Description PMT/M Inter ional Buyd
Date Esenpto Payment 0 Balance oa Balance Geers uydown Total Total

‘o7/@2014 CITY TAX PMI 3,302.81 07/2014 00 00 3,302.84 00 00 00 00
182,898.23 2,611.40 .00 .00
08/12/2014 REGULAR PAYMENT 2,093.73 08/2014 438.14 876.39 779,23 00 00 00 00
182,460.12 3,390.63 .00 .00
09/16/2014 REGULAR PAYMENT 2,093.73 09/2014 440.21 874.29 779.23 00 00 .00 00
482,019.91 4,160.86 .00 .00
09/17/2014 OVERAGE REFUND -346,.26 09/2014 00 00 -346 26 00 00 00 00
182,019.91 3,823.60 .00 00
09/23/2014 HAZARD INS PMT -2,068.00 09/2014 00 00 -2,068,00 00 00 00 00
182,019.91 1,755.60 .00 .00
10/16/2014 Assessed Late Chg 65.72 10/2014 00 00 00 00 00 00 00
182,019.01 1,755.60 “65.72 .00
11/07/2014 REGULAR PAYMENT 2,159.45 10/2014 442,32 672.18 779,23 00 00 00 65.72
181,577.59 2,534.83 “65.72 65.72
11/17/2014 Assessed Late Chg 65.72 11/2014 00 .00 00 00 00 00 00
181,577.59 2,534.83 131.44 65,72
11/28/2014 MISC. POS] ING 65.72 10/2014 00 .00 .00 00 00 .00 -65.72
181,577.59 2,534.83 “131.44 .00
11/28/2014 REGULAR PAYMENT 2,033872 11/2014 444.44 870.06 719.22 00 00 .00 00
161,133.15 3,254.05 *131.94 .00
11/28/2014 MISC. POSTING 19144 © 14/2014 00 00 .00 00 00 131.44 .00
161,133.15 3,254.05 .00 .00
12/16/2014 REGULAR PAYMENT 2,033.72 12/2014 446.57 867.93 719,22 00 00 00 00
180,686.58 3,973.27 00 .00
12/31/2014 INTEREST ON ESC 26a © 12/2014 00 .00 2.83 00 00 .00 00
180,686.58 3,976.10 00 00
01/02/2015 CITY TAX PMT -3,302.61 12/2014 00 00 -3,302.81 00 00 00 00
160,686.58 673.29 .00 .00
01/16/2015 Assessed Late Chg 6572 01/2015 .00 .00 00 00 00 .00 00
180,686.58 673.29 -66.72 00
01/28/2015 REGULAR PAYMENT 2,033.72 01/2015 448,71 865.79 719,22 00 00 00 00
180,237.87 1,902.51 -85.72 00
01/23/2015 MISC. POSTING 6572 01/2015 00 00 00 00 (rN) 65.72 00
180,237.87 1,392.51 .00 .00
02/12/2015 REGULAR PAYMENT 2,033.72 02/2015 450.86 863.64 719,22 00 00 00 00

179,787.01 2,111.73 -00 00
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Page 16
Transaction Fe Total Principal Escrow Late Charges Unapplied
ription PMT. Intere
Date cSceNe Payment MO Balance terest Balance Buydown Total Total
03/12/2015 REGULAR PAYMENT 2,033.72 03/2015 453,02 861,48 719.22 00 00 00 00
179,333.99 2,830.95 .00 .00
04/16/2015 Assessed Late Chg 65.72 04/2015 .00 00 00 00 00 .00 00
179,333.89 2,830.95 “65.72 00
05/14/2015 REGULAR PAYMENT 2,099.44 04/2015 455.19 859.31 719.22 00 00 00 65.72
178,878.80 3,550.17 “65.72 65.72
05/42/2015 MISG POSTING 6572 04/2015 .00 00 00 00 00 00 65.72
178,878.80 3,550.17 “65.72 .00
05/12/2015 MISC. POSTING 6572 04/2015 .00 00 .00 00 00 65.72 00
178,878.80 3,550.17 .00 .00
05/18/2015 Assessed Late Chg 65.72 06/2016 .00 .00 .00 00 00 00 .00
178,878.80 3,550.17 +65.72 .00
06/12/2015 REGULAR PAYMENT 2,099.44 05/2015 457.37 857.13 719.22 00 00 .00 65.72
178,421.43 4,269.30 -65.72 65.72
06/16/2015 Assessed Late Chg 65.72 06/2015 00 00 .00 00 00 .00 00
178,421.43 4,269.39 +131.44 65.72
06/29/2015 MISC. POS]ING 65.72 05/2015 .00 00 .00 00 00 .00 -65,72
178,421.43 4,269.39 +131.44 .00
06/23/2015 MISC. POSTING 65.72 05/2015 00 .00 00 00 00 65.72 00
178,421.43 4,269.39 *65.72 .00
O71 2015 REGULAR PAYMENT 2,099.44 06/2015 459.56 854.94 719.22 00 00 00 65.72
177,961.87 4,988.61 “65.72 65.72
07/16/2015 Assessed Late Chg 65.72 07/2015 .00 .00 00 00 00 .00 00
177,961.87 4,968.61 131.44 65,72
07/22/2015 MISC. POSTING 65.72 06/2015 .00 .00 00 00 00 .00 -65.72
177,961.87 4,988.61 131.44 .00
07/22/2015 MISC, POSTING 65.72 06/2015 .00 00 00 00 00 65.72 00
177,961.87 4,988.61 "85.72 .00
07/24/2015 CITY TAX PMT “3,351.76 06/2015 .00 .00 -3,351.76 00 00 00 00
177,961.07 1,636.85 “65.72 .00
08/05/2015 REGULAR PAYMENT 2,099.44 07/2015 461.77 852.73 719.22 00 00 00 65.72
177,500.10 2,356.07 “65.72 65.72
08/12/2015 MISC. POSTING 65.72 07/2015 00 00 00 00 00 .00 “65,72
177,500.10 2,356.07 “65,72 .00
08/12/2015 MISC, POSTING 65.72 07/2015 00 00 .00 00 00 65.72 .00
177,500.10 2,356.07 .00 .00
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Home Laans
Page 17
Transaction ae Total Principal Escrow : Late Charges Unapplied
Description PMT/M Intere: i B
Date ESenpue Payment 0 Balance ce Balance — Sxtlonal weceD Total Total
08/17/2015 Assessed Late Chg 6572 08/2015 00 00 00 00 00 00 00
177,500.10 2,356.07 "65.72 00
09/02/2015 HEGULAR PAYMENI 2,099.44 08/2015 463.98 850.52 719.22 00 00 00 65.72
177,036.12 3,075.29 -65.72 65.72
09/04/2015 MISC. POSTING 6572 08/2015 .00 00 00 .00 00 00 -65 72
177,036.12 3,075.29 “65.72 .00
09/04/2015 MISC. POSTING 65.72 08/2015 00 00 .00 00 00 65.72 .00
177,036.12 3,075.29 00 00
09/16/2015 HAZARD INS PMT +2,270.00 08/2015 00 00 +2,270.00 00 00 00 .00
177,036.12 805.29 .00 00
09/16/2015 Assessed Late Chg 65.72 09/2015 00 00 .00 00 00 00 .00
177,036.12 805.29 65.72 .00
09/23/2015 REGULAR PAYMENT 2,033.72 09/2015 466,20 848.30 719.22 00 00 00 00
176,569.92 1,324.51 +65.72 00
09/242015 MISC. POSTING 65.72 08/2015 00 00 .00 00 00 65.72 00
176,569.02 1,524.51 -00 .00
10/09/2015 REGULAR PAYMENT 2,033.72 10/2015 468.44 846.06 719.22 .00 00 .00 00
176,101.48 2,243.73 00 00
14/10/2015 REGULAR PAYMENT 2,059.56 11/2015 470.68 843.82 745.06 00 00 00 00
175,630.80 2,088.79 .00 .00
1216/2015 REGULAR PAYMENT 2,059.56 12/2015 472.94 841.56 745.06 00 00 .00 00
175,157.86 9,733.85 .00 .00
12/31/2015 INTEREST ON ESC 266 12/2015 00 00 2.66 00 00 00 00
175,157.86 3,736.51 .00 .00
01/15/2016 REGULAR PAYMENI 2.05956 01/2016 475.20 839.30 745,06 00 00 00 00
174,682.66 4,481.57 .00 00
01/21/2016 CITY TAX PMT -3,361.76 01/2016 .00 00 -3,351.76 00 00 00 00
174,682.66 1,129.81 .00 .00
02/09/2016 REGULAR PAYMENT 2,05956 02/2016 477.48 837.02 745.06 00 00 .00 00
174,205.18 1,674.87 00 00
03/16/2016 REGULAR PAYMENT 2,059.56 03/2016 479.77 834.73 746.06 00 00 00 90
173,725.41 2,619.93 .00 00
04/18/2016 Assessed Late Chg 6572 04/2016 00 00 .00 00 00 00 00
173,725.41 2,618.03 “65.72 .00
04/28/2016 REGULAR PAYMENT 205956 04/2016 482.07 832.43 745.06 00 00 00 00

173,243.34 3,364.99 65.72 -00
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Transaction a Total Principal Escrow | ; Late Charges Unapplied
Description PMT/M' Interes
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04/28/2016 MISC. POSTING 6572 04/2016 00 00 00 00 00 "65.72 a0
179,243.34 3,364.99 00 .00
05/16/2016 Assessed Late Chg 6572 05/2016 .00 00 .00 00 00 00 .00
173,243.34 3,364.99 65,72 .00
06/13/2016 REGULAR PAYMENT 2.12528 05/2016 484.38 830.12 745.06 .00 00 00 65.72
172,758.06 4,110.05 -65.72 65,72
06/16/2016 Assessed Late Chg 6572 06/2016 00 00 00 .00 00 00 00
172,758.96 4,110.05 131.44 65.72
06/21/2016 MISC. POSTING 6572 05/2016 .00 00 00 .00 00 00 -65.72
172,758.96 4,110.05 -131.44 00
06/21/2016 MISC. POSTING 65.72 05/2016 .00 00 .00 .00 00 65.72 00
172,758.96 4,110.05 65,72 .00
07/18/2016 REGULAR PAYMENT 2,191.00 06/2016 486.70 827.80 745.06 00 00 00 131.44
172,272.26 4,855.11 “65.72 131.44
07/18/2016 Assessed Late Chg 65.72 07/2016 00 00 00 .00 00 00 .00
172,272.26 4,855.11 +131.44 131.44
07/21/2016 CITY TAX PMI -3,36843 06/2016 00 00 -3,368.43 .00 00 00 .00
172,272.26 1,486.68 134.44 191.44
08/16/2016 REGULAR PAYMENT 2,191.00 07/2016 489.03 825.47 745.06 00 00 .00 191.44
171,783.23 2,231.74 -131.44 262.88
08/16/2016 Assessed Late Chg 65.72 08/2016 00 .00 .00 00 00 00 00
171,783.23 2,231.74 “197.16 262.68
08/17/2016 MISG. POSTING 131.44 07/2016 00 00 00 00 00 .00 “131.44
171,783.23 2,231.74 197.16 131.44
08/17/2016 MISC, POSTING 13144 07/2016 00 00 .00 00 00 131.44 .00
171,783.23 2,231.74 -65.72 191.44
08/17/2016 MISC. POSTING 131.44 07/2016 00 .00 .00 00 00 00 131.44
171,763.23 2,231.74 “65.72 .00
08/17/2016 REGULAR PAYMENT 2,059.56 08/2016 491.37 823.13 745.06 00 00 .00 .00
171,291.86 2,976.80 -65.72 00
08/17/2016 MISC, POSTING 6572 08/2016 00 00 00 00 00 65.72 00
171,201.86 2,976.80 .00 .00
08/17/2016 MISC, POSTING 131.44 08/2016 131 44 00 00 00 00 00 00
171,160.42 2,976.80 .00 .00
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170,666.40 3,721.86 00 00
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Home Loans
Page 19
Transaction vas Total Principal Escrow : Late Charges Unapplied
D ipti PMT/MO Intere: Optional Buydow
Date SSciiRten Payment Balance eit Balance plane eee Total Total

09/20/2016 HAZARD INS PMT 2,353.00 08/2016 90 .00 2,353.00 00 “0 )})”t:t~é<“i«~SS*~“‘S™C‘CO
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40/07/2016 REGULAR PAYMENT 2,059.56 10/2016 496 72 817.78 745.06 00 00 00 .00
170,169.68 2,113.82 00 .00
11/46/2016 REGULAR PAYMENT 209965 11/2016 499.10 815.40 785.15 00 00 .00 .00
169,670.58 2,899.07 .00 .00
42/16/2016 Assessed Late Chg 65.72 12/2016 00 00 00 00 00 00 .00
169,670.58 2,899.07 “65.72 .00
12/28/2016 REGULAR PAYMENT 2,099.65 12/2016 501.50 813.00 785.15 00 00 .00 .00
169,169.08 3,664.22 *65.72 00
12/28/2016 MISC, POSTING 65.72 12/2016 00 .00 00 00 00 65.72 .00
169,160.08 3,684.22 .00 00
12/30/2016 INTEREST ON ESC 271 12/2016 00 .00 271 00 00 00 .00
169,168.08 3,686.03 .00 .00
01/17/2017 Assessed Late Chg 65.72 01/2017 00 00 00 00 00 00 00
160,169.08 3,686.83 -65.72 00
01/18/2017 CITY TAX PMT -3,36843 12/2016 00 00 -3,368.43 00 00 .00 00
169,169.08 319.50 “65.72 .00
02/16/2017 Assessed Late Chg 65.72 02/2017 .00 .00 .00 .00 00 00 00
169,160.08 318.50 “131.44 .00
03/07/2017 REGULAR PAYMENT 2,231.09 01/2017 503.90 810.60 785.15 00 00 .00 191.44
168,665.18 1,103.65 -131.44 131.44
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06/28/2017 CILY TAX PMI -2,07645 01/2017 00 00 -2,076.45 00 00 00 00
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10/04/2017 HAZARD INS PMT -2,369.00 01/2017 00 .00 -2,369.00 00 00 00 00
168,665.18 -3,341.80 “197.16 131.44
12/29/2017 INTEREST ON ESC 57 01/2017 .00 .00 57 00 00 00 00
160,665.19 -3,341.23 “197.16 191.44
01/08/2018 CITY TAX PMT -2,076.45 01/2017 00 00 -2,076.45 00 00 00 00
168,665.18 -5,417.68 -197.16 131.44
07/18/2018 CITY 1AX PMI -2,175,01 01/2017 .00 00 -2,175.04 00 00 00 00
168,665.16 -7,592.69 “197.16 131.44
08/21/2018 HAZARD INS PMT 2,448.12 01/2017 .00 00 -2,448 12 .00 00 00 00
168,665.18 +10,040.81 “197.16 131.44
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Fee Transaction Activity (05/2004 - 05/2019)

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Recording Fee

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